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                                            LOAN AGREEMENT
                                                        between



                                       SAM PARABIA AND PERIN PARABIA,
                                                      as Borrower


                                                             to


                              THE NATIONAL REPUBLIC BANK OF CHICAGO,
                                                       as   Lender


                                 Dated                  As of January 5, 2009

                                 Property Address:      7213 Romero Dnve
                                                        La Jolla, Cahforma

                                 County:                San Diego
                                 State                  California

                                 W&R File No ..         9400/1054

                                 Loan No:               6384000




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                                                    LOAN TERMS


     Note Date                                 As of January 5, 2009
     Borrower:                                 SAM PARABIA AND PERIN PARABIA,
     Borrower Address'                         7213 Romero Drive, La Jolla, Cahforrua 92037
     Ongmal Pnncipal Amount:                  $1,000,000.00
     Applicable Interest Rate:                Eight and Zero Tenths Percent (8.0%)
     Monthly Payment Amount:                  mterest only
     Matunty Date:                            January 5,2010
     Initial Payment Date                     5th of February, 2009
     Scheduled Payment Date:                  5th day of each calendar month
     Prepayment Consideration'                Ten Percent (1() 0%) of the Outstandmg Pnncipal Balance

                                              FINANCIAL REPORTING

     Due                                      Reporting
     Annual                                   Personal Fmancial Statements
                                              Tax Returns - Borrower




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                     This Loan Agreement (the "Agreement") IS made as of this 5th day of January,
     2009, by and among SAM PARABIA AND PERIN PARABIA, mdividuals, havmg an address
     at 7213 Romero Dnve, La Jolla, California 92037 C'Borrowerll), and THE NATIONAL
     REPUBLIC BANK OF CHICAGO, a national bank, having an address at 1201 West Hamson
     Street, Chicago, Illmois 60607 ("Lender"),

                                                              RECITALS

                  WHEREAS, Borrower                      IS   financing the real estate commonly known as 7213
     Romero Dnve, La Jolla, California;

                    WHEREAS, Lender has agreed to make a loan to Borrower In the ongmal
    pnncipal amount of ONE MILLION AND 00/100 DOLLARS ($1,000,00000),               The Loan is to
    be evidenced by a promissory note of even date herewith in the origmal pnncipal amount of
    ONE MILLION AND 00/100 DOLLARS ($1,000,000.00) (the "Note"), and secured by, among
    others, a Deed of Trust, Assignment of Leases and Rents, Security Agreement and FIxture Filing
    made by Borrower to Lender encumbering the Property (as defined below), and such other
    documents, instruments and agreements as may now or hereafter be executed, Borrower and/or
    others In favor of Lender which wholly or partially secure or guaranty payment of the Note, all
    dated as of the date hereof (the "Other Security Documents") (this Agreement, the Note, the
    Security Instrument, the Guaranty and the Other Secunty Documents are collectively referred to
    as the "Loan Documents");

                  WHEREAS,                     subject to the terms and conditions of this Agreement, Lender has
    agreed to make the Loan,

                  NOW THEREFORE, 111 constderation of the mutual representations, warranties,
    covenants and agreements contamed in this Agreement, the sufficiency of WhICh of hereby
    acknowledged, the parties hereto represent and agree as follows'

                                                   Article 1.- DEFINITIONS

                           Section 1 1         DEFINITIONS

                    For all purposes of this Agreement, except as otherwise expressly required or
    unless the context clearly indicates a contrary intent-

                     "Affiliate" shall mean, as to any Person, any other Person that, directly or
    mdirectly, IS m control of, is controlled by or IS under common control WIth such Person or IS a
    director or officer of such Person or of an Affiliate of such Person

                           "Alteration Threshold" shall mean $50,000 00

                    "Applicable Laws" shall mean all existing and future federal, state and local laws,
    ordinances,   governmental rules and regulations or court orders affecting or which may be
    interpreted to affect the Property, the use of the Property or the Borrower




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                     "Award" shall mean any compensation paid by any Governmental Authority in
      connection with a Condemnation in respect of all or any part of the Property.

                      "Business Day" shall mean a day on WhICh Lender IS open for the conduct of
      substantially all of Its banking business at its office in the City in which the Note is payable
      (excluding Saturdays and Sundays),

                          "Casualty" shall mean damage or destruction by fire, earthquake, wind or other
     casualty,

                          "Closmg Date" shall mean the date ofthe fundmg of the Loan.

                     "Condemnation"     shall mean a temporary or permanent taking by any
     Governmental Authority as the result, m lieu or ill anncipanon, of the exercise of the nght of
     condemnation or eminent domain, of all or any part of the Property, or any interest therein or
     right accruing thereto, including any nght of access thereto or any change of grade affecting the
     Property or any part thereof

                    "Debt" shall mean the outstanding pnncipal amount set forth 111, and evidenced
     by, this Agreement and the Note together with all interest accrued and unpaid thereon and all
     other sums due to Lender m respect of the Loan under the Note, this Agreement, the Mortgage or
     any other Loan Document.

                   "Default" shall mean the occurrence of any event hereunder or under any other
    Loan Document which, but for the givmg of notice or passage of time, or both, would be an
    Event of Default.

                         "Default Rate" shall have the meamng set forth   III the   Note.

                  "Environmental Indemnity" shall mean that certain Environmental Indemmty
    Agreement, dated as of the date hereof, executed by Borrower and Guarantor m connection WIth
    the Loan for the benefit of Lender, as the same may be amended, restated, replaced,
    supplemented or otherwise modified from time to time

                     "Environmental Law" shall mean (a) any present and future federal, state and
     local laws, statutes, ordinances, rules, regulations and the like, as well as common law, relating
     to protection of human health or the environment, relating to Hazardous Substances, relatmg to
    habihty for or costs of Remediation or prevention of Releases of Hazardous Substances or
    relating to habrlrty for or costs of other actual or threatened danger to human health or the
    environment, (b) mcludmg, but not limited to, the following statutes, as amended, any successor
    thereto, and any regulations promulgated pursuant thereto, and any state or local statutes,
    ordinances, rules, regulations and the like addressing similar Issues:           the Comprehensive
    Environmental Response, Compensation and Liabihty Act; the Emergency Planmng and
    Commumty RIght-to-Know Act; the Hazardous Substances Transportation Act; the Resource
    Conservation and Recovery Act (including, WIthout hmrtatron, Subtitle I relating to underground
    storage tanks), the Solid Waste DIsposal Act, the Clean Water Act, the Clean Air Act, the Toxic
    Substances Control Act; the Safe Dnnkmg Water Act; the Occupational Safety and Health Act,
    the Federal Water Pollution Control Act, the Federal Insecticide, Fungictde and Rodenticide Act;

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       the Endangered Species Act; the National Environmental Pohcy Act; the River and Harbors
      Appropriation Act and the Residential Lead-Based Paint Hazard Reduction Act; and (c)
      including, but not hrmted to, any present and future federal, state and local laws, statutes,
      ordinances, rules, regulations and the like, as well as common law' condinomng transfer of
      property upon a negative declaration or other approval of a governmental authority of the                _
      environmental conditron of the property; requmng notification or disclosure of Releases of
      Hazardous Substances or other environmental condition of the Property to any governmental
      authonty or other Person, whether or not m connection with transfer of title to or interest in
      property; imposmg conditions or requirements in connection with permits or other authonzation
      for lawful activity, relating to nuisance, trespass or other causes of action related to the Property;
      and relating to wrongful death, personal injury, or property or other damage in connection with
      any physical condition or use of the Property.

                    "Environmental Liens" shall mean any hen or encumbrance imposed pursuant to
      any Envrronmental Law, whether due to the act of Borrower or any other Person

                         "Environmental Report" shall have the meaning set forth   In Section   10 1 hereof.

                     "ERISA" shall mean the Employee Retirement Income Secunty Act of 1974, as
     amended from time to time and any successor statutes thereto and applicable regulations issued
     pursuant thereto m temporary or final form.

                         "Event of Default" shall have the meamng set forth m Section 9 hereof.

                   "Fiscal Year" shall mean each twelve (12) month penod commencmg on January
      1 and endmg on December 31 during the term of the Loan.

                  IIGAAP" shall mean generally accepted accountmg pnnciples in the Umted States
     of Amenca as of the date of the applicable financial report.

                     "Governmental Authority" shall mean any court, board, agency, department,
     comrmssron,    office or other authonty of any nature whatsoever for any governmental umt
     (federal, state, county, mumcipal, CIty, town, special district or otherwise) whether now or
     hereafter m existence.

                        "Guarantor" shall mean and mcluded NIA.

                    "Hazardous Substances" shall mean any and all substances (whether sohd, hquid
    or gas) defined, hsted, or otherwise classified as pollutants, hazardous wastes, hazardous
    substances, hazardous materials, extremely hazardous wastes, or words of SImilar meanmg or
    regulatory effect under any present or future Environmental Laws or that may have a negatrve
    Impact on human health or the environment, mcluding, WIthout limitatton, petroleum and
    petroleum products, asbestos and asbestos-contammg materials, polychlorinated biphenyls, lead,
    materials containing lead based paint, radon, radioactive matenals, flammables and explosives

                    "Improvements"     shall mean the buildings, structures, fixtures, addiuons,
    enlargements, extensions, modifications, repairs, replacements and Improvements now or
    hereafter erected or located on the Land

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                       "Indemnified Persons" shall mean (a) Lender, (b) any prior owner or holder of the
       Loan, (c) any receiver or other fiduciary appointed in a foreclosure or other bankruptcy,
       insolvency, reorganization, conservatorship or other relief with respect to debts, proceeding, (d)
       any officers, directors, shareholders, partners, members, employees, agents, servants,
       representatives, contractors, subcontractors, affihates or subsidiaries of any and all of the
       foregoing, and (e) the heirs, legal representatives, successors and assigns of any and all of the
       foregoing (including, without Inmtation, any successors by merger, consolIdation or acqursrtion
       of all or a substantial portion of the Indemnified Person's assets and busmess), in all cases
       whether dunng the term of the Loan or as part of or following a foreclosure of the Security
       Instrument.

                              "Insurance Premiums" shall mean the premiums due under the insurance policies
       required by this Agreement.

                      "Internal Revenue Code" shall mean the Internal Revenue Code of 1986, as
       amended, as It may be further amended from time to time, and any successor statutes thereto, and
       appltcable U.S. Department of Treasury regulations issued pursuant thereto in temporary or final
       form.

                     "Land" shall mean the real property descnbed            In   Exhtbrt A attached to the
       Secunty Instrument.

                     "Lease" shall mean all leases and other agreements affecting the use, enjoyment
       or occupancy of all or any portion of the Property or the Improvements

                       "Legal Requirements" shall mean all statutes, laws, rules, orders, regulations,
      ordinances, Judgments, decrees and injunctions of Governmental Authonnes affecting the
      Property or any part thereof, or the construction, use, alteranon or operation thereof, whether
      now or hereafter enacted and m force, and all permits, licenses, authonzanons and regulations
      relating thereto, and all covenants, agreements, restrictions and encumbrances con tamed many
      instruments, either of record or known to Borrower, at any trme in force affecting the Property or
      any part thereof, mcludmg, WIthout limitation, any which may (a) require repairs, modifications
      or alterations In or to the Property or any part thereof, or (b) III any way limit the use and
      enjoyment thereof.

                     "Lien" shall mean any mortgage, deed of trust, lien, pledge, hypothecation,
      assignment, secunty interest, or any other encumbrance, charge or transfer of, on or affecting
      Borrower, the Property, any portion thereof or any mterest therein, including, WIthout lmutatron,
      any condinonal sale or other title retention agreement, any financing lease havmg substantially
      the same economic effect as any of the foregoing, the filing of any financing statement, and
      mechanic's, materialmen's and other sirmlar hens and encumbrances.

                             "Loan" shall mean the loan made by Lender to Borrower         pursuant to this
      Agreement

                     "Loan Documents" shall mean, collectively, this Agreement, the Note, the
      Security Instrument, the Environmental Indemnity, and any and all other documents, agreements


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       and certificates executed and/or delivered m connection with the Loan, as the same may be
       amended, restated, replaced, supplemented or otherwise modified from time to time

                             "Losses" shall mean any and all claims, suits, liabilities   (including,   without
       hrmtation, stnct liabilities), actions, proceedings, obligations, debts, damages, losses, costs,
       expenses, fines, penalties, charges, fees, judgments, awards, amounts paid III settlement of
       whatever kind or nature (including but not limited to legal fees and other costs of defense)

                       "Major Lease" shall mean as to the Property (i) any Lease WhICh, mdrvidually or
       when aggregated With all other leases at the Property with the same Tenant or Its Affihate,
       demrses either (A) five percent (5%) or more of the Property's net rental income, or (B) 5,000
       square feet or more of the Property's gross leasable area, (n) any Lease which contams any
       option, offer, nght of first refusal or other similar entitlement to acquire all or any portion of the
       Property, or (111) any instrument guaranteeing or providmg credit support for any Lease meeting
       the requirements of (1) or (11) above.

                     "Management Agreement" shall mean the management agreement entered into by
      and between Borrower and Manager, pursuant to which Manager IS to provide management and
      other services WIth respect to the Property, as the same may be amended, restated, replaced,
      supplemented or otherwise modified in accordance with the terms of this Agreement

                             "Matunty Date" shall mean January 5, 2010.

                      "Net Proceeds" shall mean the net amount of msurance proceeds received by the
      Lender as a result of a Casualty after deduction of the Lender's reasonable costs mcurred In
      collecting the proceeds

                    "Note" shall mean that certain promrssory note of even date herewith In the
      pnncrpal amount of ONE MILLION AND 00/100 DOLLARS ($1,000,000.00), made by
      Borrower In favor of Lender, as the same may be amended, restated, replaced, supplemented or
      otherwise modified from time to time.

                      "Other Charges" shall mean all ground rents, maintenance charges, imposinons
      other than Taxes, and any other charges, mcludmg, Without hmitation, vault charges and license
      fees for the use of vaults, chutes and sirmlar areas adjormng the Property, now Or hereafter levied
      or assessed or Imposed agamst the Property or any part thereof.

                      "Permitted Encumbrances" shall mean collectively, (a) the LIen and secunty
      interests created by the Loan Documents, (b) all LIens, encumbrances and other matters
      disclosed in the TItle Insurance Policy, (c) Liens, If any, for Taxes Imposed by any
      Governmental Authonty not yet due or delmquent, and (d) such other title and survey exceptions
      as Lender has approved or may approve In writing III Lender's sole discretion, all of which
      Lender determmes in the aggregate as of the date hereof do not matenally adversely affect the
      value or use of the Property or Borrower's abilrty to repay the Loan

                      "Person" shall mean any mdivtdual, corporation, partnership, JOint venture,
      limited lrabrhty company, estate, trust, unincorporated associanon, any federal, state, county or


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        municipal government or any bureau, department or agency thereof and any fiduciary actmg in
        such capacity on behalf of any of the foregomg,

                       "Personal Property" shall mean all machinery, equtpment (as such term is defined
        IIIArticle 9 of the Uniform Commercial Code), fixtures (includmg, without lrmitation, all
       heating, air conditioning, plumbing, lighting, commumcatrons and elevator fixtures) and other
       property of every kind and nature whatsoever owned by Borrower, or in which Borrower has or
       shall have an Interest, now or hereafter located upon the Land or the Improvements, or
       appurtenant thereto, and usable In connection with the present or future operation and occupancy
       of the Land or the Improvements and all buildmg equipment, matenals and supphes of any
       nature whatsoever owned by Borrower, or in which Borrower has or shall have an interest, now
       or hereafter located upon the Land or the Improvements, or appurtenant thereto, or usable In
       connection WIth the present or future operation and occupancy of the Land or the Improvements,
       and all proceeds and products of the above.

                             "Policies" shall mean the insurance policies with the coverages required under
       this Agreement.

                      "Property" shall mean the Land, the Improvements thereon and all Personal
       Property ow.ned by Borrower and encumbered by the Security Instrument, together With all rights
       pertaming to such property and Improvements.

                     "Release" of any Hazardous Substance shall mean any release, deposit, discharge,
      emission, leaking, spilhng, seeping, rmgrating, injecting, pumping, pounng, emptying, escaping,
      dumping, disposmg or other movement of Hazardous Substances

                     "Remediation" shall mean (a) any response, remedial, removal, or correctrve
      action, any activity to cleanup, detoxify, decontaminate, contain or otherwise remedrate any
      Hazardous Substance, (b) any actions to prevent, cure or mmgate any Release of any Hazardous
      Substance, (0) any acnon to comply with any Environmental Laws or WIth any permits Issued
      pursuant thereto, or (d) any mspectron, investigation, study, momtormg, assessment, audrt,
      sampling and testmg, laboratory or other analysis, or evaluation relatmg to any Hazardous
      Substances.

                       "Rents shall mean all rents, addmonal rents, revenues, Issues and profits
                                      II


      (including all ad and gas Or other rmneral royalties and bonuses from the Property and the
      Improvements whether paid or accruing before or after the filmg by or against the Lessor of any
      petrtion for relief under the U S. Bankruptcy Code

                      "Reserve Account" shall mean the following accounts: the Tax Reserve Account
      or any other escrow account established by the Loan Documents.

                      "Reserve Fund" shall mean the Tax Reserve Fund or any other escrow funds
      established by the Loan Documents

                      "Restoration" shall mean, following the occurrence of a Casualty or a
      Condemnation whrch 1S of a type necessitatmg the repair of the Property, the completion of the
      repair and restoration of the Property as nearly as possible to the condition the Property was in

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        nnmedlately prior to such Casualty or Condemnation, with such alterations as may be reasonably
        approved by Lender.

                       "Restoration Consultant" shall mean an independent mspectmg engineer selected
        by Lender to inspect, review and approve Restoration work done at the Property

                            "Scheduled Payment Date" shall have the meamng set forth     in   the Note.

                            "Security     Instrument" shall mean that certam first pnonty        Deed of Trust,
        Assignment of Leases and Rents, Security Agreement and Fixture Filing dated the date hereof,
       executed and delrvered by Borrower as security for the Loan and encumbering the Property, as
       the same may be amended, restated, replaced, supplemented or otherwise modified from tune to
       time

                           "State" shall mean the state m WhIChthe Property or any part thereof     IS   located

                           "Tax Reserve Fund" shall have the meanmg set forth   In   Section 8 1 hereof

                           "Tax Reserve Account" shall have the meanmg set forth m Section 8 1 hereof

                      "Taxes" shall mean all real estate and personal property taxes, assessments, water
       rates or sewer rents, now or hereafter Ievred or assessed or Imposed against the Property or part
       thereof

                       "Tenant" shall mean any Person leasing, subleasmg or otherwise occupying any
       portion of the Property under a Lease or other occupancy agreement With Borrower

                     "TItle Insurance Pohey" shall mean that certain ALTA mortgagee title insurance
      poltcy Issued with respect to the Property and insunng the hen of the Mortgage.

                       "Transfer" shall mean any direct or indirect sale, conveyance, mortgagmg, grant,
       alienation, encumbrance, pledge, assignment or other transfer of the Property or any part thereof,
       or interest therein, or agreement to do any of the foregomg, whether voluntary or involuntary,
       and shall be deemed to include (i) an installment sales agreement wherein Borrower agrees to
       sell the Property or any part thereof for a pnce to be paid III installments, (II) an agreement by
       Borrower leasmg all or a substannal part of the Property for other than actual occupancy by a
       space tenant thereunder or a sale, assignment or other transfer of, or the grant of a security
       mterest m, Borrower's right, title and interest m and to any Leases or any rents, (m) If Borrower
       or any general partner or managing member (or If no managing member, any member or non-
       member manager) of Borrower IS a corporation, the VOluntary or involuntary sale, conveyance,
      transfer or pledge of such corporauon's stock (or the stock of any corporation directly or
      indirectly controlhng such corporation by operation of law or otherwise) or the creauon or
      Issuance of new stock such that, III any such event, an aggregate of more than forty-rune percent
      (49%) of such corporation's stock shall be transferred, whether in one or a senes of transactions,
      (IV) If Borrower or any general partner or managing member (or if no managmg member, any
      member or non-member manager) of Borrower is a hmited or general partnership or joint
      venture, the change, removal, resignation or addition of a general partner or Joint venturer or the
      transfer or pledge of the partnershrp interest of any general partner or joint venturer or any profits

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        or proceeds relating to such partnership or joint venture interest; (v) if Borrower or any general
       partner or managing member of Borrower is a limited liability company with a managing
       member, the change, removal, resignation or addition of a managmg member or the transfer of
       the membership interest of a managing member or any profits 0[' proceeds relatmg to such
       managmg membership interest or the transfer, change, removal, resrgnation or addition of any
       member such that an aggregate of more than forty-nine percent (49%) of the membership
       interests in such limited habihty company shall be transferred, whether m one or a series of
       transactions; and (VI) if Borrower or any general partner or managing member of Borrower is a
       limited liabihty company without a managing member, the change, removal, resignation or
       addition of any non-member manager whatsoever, or the transfer, change, removal, resignation
       or addition of any member such that an aggregate of more than forty-nme percent (49%) of the
       membership interests in such hmited liability company shall be transferred, whether In one or a
       series of transactions.

                          "UCC" or "Uniform Commercial Code" shall mean the Uniform Commercial
       Code as    In effect in the State.

                                                   Article 2. ~ LOAN TERMS

                   Section 2.1   AGREEMENT TO BORROW AND LEND Borrower agrees to borrow
      from Lender and Lender agrees to lend to Borrower an amount equal to ONE MILLION AND
      00/100 DOLLARS ($1,000,000.00) on the terms of and subject to the conditions of the Loan
      Documents.

                          Section 2 2          PAYMENTS, MATURITY

                    (a)     Payments, Generally. Payments of'prmcipal and interest shall be due and
      payable by Borrower to Lender as provided m the Note. The then outstanding pnncipal and all
      accrued and unpaid interest and any other amounts due under the Loan Documents shall be due
      and payable on the Maturity Date, ifnot sooner paid.

                      (b)    Prepayments. The Loan may not be prepaid, m whole or in part, except      10
      strict accordance WIth the express terms of the Note.

                         Section 2 3           INTEREST RATE.

                      (a)    Interest Rate. The Loan shall bear interest at a rate per annum as set forth
      m the Note. Interest on the pnncipal sum of this Note shall be calculated on a 365/360-day
      SImple interest baSIS and the exact day in each month, but shall not exceed the maximum rate of
      mterest allowable under applicable law for loans of this type.

                     (b)    Late Payment. If Borrower fails to pay any installment of interest or
      pnncipal wrthin ten (l0) days after the date when due, Borrower shall pay a late charge as
      provided in the Note.

                     (c)    Default Rate. In the event that, and for so long as, any Event of Default
      sha1l have occurred, and to the extent permitted by law, all accrued and unpaid interest, the
      outstanding pnncipal balance and any other amounts due under the Loan Documents shall accrue

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       interest at the Default Rate (as set forth in the Note), calculated from the date such payment was
       due without any grace or cure periods contained herein.

                          Section 2.4         SECURITY. The Loan 18 secured by a first lien on the Property
       created by the     Secunty    Instrument and the Other Security Documents.

                       Scotton 2.5   USURY LAWS.       It IS the intention of Borrower and Lender to
       conform strictly to the usury and similar laws relating to interest from time to time m force, and
       all agreements between Lender and Borrower, whether now existing or hereafter arising and
       whether oral or written, are hereby expressly linuted so that in no contmgency or event
       whatsoever, whether by acceleration of maturity hereof or otherwise, shall the amount paid or
       agreed to be pard In the aggregate to Lender as interest under the Loan Documents, or 1D any
      other document evidencing, secunng or pertammg to the Debt, exceed the maximum permissible
      under applicable usury or such other laws (the                    Amount"). If from any possible
      construction of any document, interest would otherwise be payable under any Loan Document In
      excess of the Maximum Amount, or In the event for any reason whatsoever any payment by or
      act of Borrower pursuant to the terms or requirements of any Loan Document shall result in the
      payment of mterest which would exceed the Maximum Amount, then any such construction shall
      be subject to the provisions of this Section, and ipso facto such document shall be automatically
      reformed, WIthout the necessity of the execution of any amendment or new document, so that the
      obligation of Borrower to pay interest or perform such act or requirement shall be reduced to the
      lnmt authorized under the Applicable Laws, and In no event shall Borrower be obligated to pay
      any mterest, perform any act, or be bound by any requirement which would result in the payment
      of interest In excess of the Maximum Amount Any amount received by Lender in excess of the
      Maximum Amount shall, without further agreement or notice between or by any party hereto, be
      deemed applied to reduce the pnncipal amount of the Note Immediately upon receipt of such
      moneys by Lender, with the same force and effect as though Borrower had specifically
      designated such sums to be applied to pnncipal prepayment The provisions of this Section shall
      supersede any inconsrstent provision of this Agreement or any other Loan Document.

                 Article 3. - REPRESENTATIONS             AND WARRANTIES        OF BORROWER

                     To induce Lender to make the Loan and to enter into this Agreement, Borrower
      hereby represents and warrants to Lender'

                      Section 3.1     LEGAL STATUS AND AUTHORITY. Borrower (a) IS duly organized,
      vahdly existmg and in good standing under the laws of Its state of orgamzation or incorporation;
      (b) is duly qualified to transact busmess and IS m good standing in the State or Commonwealth
      where the Property IS located; (c) has all necessary approvals, governmental and otherwise, and
      full power and authority to own the Property and carry on Its business as now conducted and
      proposed to be conducted; (d) has full power, authonty and legal nght to execute the Loan
      Documents, and to mortgage, grant, bargain, sell, pledge, assign, warrant, transfer and convey
      the Property pursuant to the terms hereof and to keep and observe all of the terms of the Loan
      Documents on Borrower's part to be performed and (e) has and shall contmue to have the full
      right, power and authonty to operate and lease the Property.




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                        Section 3.2     STATUS OF BORROWER. Borrower's exact legal name is correctly
       set forth on the first page of this Agreement, on the Secunty Instrument and on any VCC-!
       Financing Statements filed III connection with the Loan. Borrower is an organization of the type
       specified on the first page of this Agreement. Borrower is incorporated in or orgamzed under the
       laws of the state of. Borrower's pnncrpal place of business and chief executive office, and the
       place where Borrower keeps its books and records, has been for the precedmg four months (or, If
       less, the entire period of the existence of Borrower) the address of Borrower set forth on the first
       page of this Agreement. Borrower's organizational idennfication number, If any, assigned by the
       state of incorporation or orgamzation is correctly set forth on the first page of this Agreement

                       Section 3.3     VALIDITY OF DOCUMENTS.           (a) The execution, dehvery and
       performance of the Loan Documents and the borrowmg evidenced by the Note (i) are wrthm the
       power of Borrower, (ii) have been authorized by all requisite action; (in) have received all
       necessary approvals and consents, corporate, governmental or otherwise; (iv) will not violate,
       conflict with, result in a breach of or constitute (with notice or lapse of time, or both) a default
       under any provision oflaw, any order or judgment of any court or governmental authority, or any
      Indenture, agreement or other Instrument to which Borrower is a party or by which it or any of ItS
      assets or the Property IS or may be bound or affected, (v) WIll not result m the creation or
      imposition of any hen, charge or encumbrance whatsoever upon any of ItS assets, except the hen
      and security mterest created hereby, and (vi) will not require any authorization or license from,
      or any filing with, any Governmental Authonty or other body (except for the recordation of the
      Security Instrument and any other Loan Document intended to be recorded m the appropriate
      land records in the State or Commonwealth where the Property is located and except for Uniform
      Commercial Code filmgs relatmg to the security interest created hereby)

                      (b)    The Loan Documents constttute the legal, valid and bindmg obligations of
      Borrower, enforceable against Borrower In accordance WIth their respective terms, except as may
      be hnuted by (1) bankruptcy, insolvency or other SImilar laws affectmg the rights of creditors
      generally, and (it) general principles of equity (regardless of whether considered in a proceeding
      m equity or at law).

                             Section 3.4          LITIGATION.   There   IS   no matenal   action, SUIt or proceeding,
      judicial, admmistratrve or otherwise (includmg any condemnation or simrlar proceeding),
      pending or, to the best of Borrower's knowledge, threatened or contemplated                         against, or
      affectmg, Borrower, or any Guarantor, or against or affecting the Property.

                     Section 35      STATUS OF PROPERTY. (a) No portion of the Improvements IS
      located in an area identified by the Secretary of Housing and Urban Development or the Federal
      Emergency Management Agency or any successor thereto as an area having special flood
      hazards, or, if located Within any such area, Borrower has obtamed and will maintain the
      insurance prescnbed m this Agreement.

                       (b)    Borrower has obtained all necessary cernficates, licenses, permits and
      other approvals, governmental and otherwise, necessary for the operation of the Property and the
      conduct of Its busmess and all required zonmg, buildmg code, land use, environmental and other
      sirrnlar permits or approvals, all of which are m full force and effect as of the date hereof and not
      subject to revocation, suspension, forfeiture or modificatron.


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                       (c)    The Property and the present and contemplated use and occupancy thereof
        are 10 full comphance with all applicable zonmg ordinances, building codes, land use and
        environmental laws and other similar laws None of the Improvements hes outside of the
        boundaries of the Land or the applicable building restnction lines. No Improvements on
        adjoining properties materially encroach upon the Property.

                        (d)    The Property is served by all utilmes required for the current or
        contemplated use thereof. All utility service IS provided by public utihties and the Property has
        accepted or IS equipped to accept such unhty service. The Property IS served by public water and
        sewer systems

                       (e)    All liquid and solid waste disposal, septic and sewer systems located on
        the Property are 10 a good and safe condition and repair and in compliance with all applicable
        laws.

                       (t)    An public roads and streets necessary for service of and access to the
        Property for the current or contemplated use thereof have been completed, are serviceable and
        all-weather and are physically and legally open for use by the pubhc.

                               (g)       The Property is free from damage caused by fire or other casualty.

                        (h)    The Property, Including, without hmrtation, all buildmgs, Improvements,
       parking facilities, SIdewalks, storm drainage systems, roofs, plurnbmg systems, HV AC systems,
       fire protection systems, electncal systems, equipment, elevators, extenor sidings and doors,
       landscaping, irrigation systems and all structural components, are in good condinon, order and
       repair m all material respects. Borrower has not received notice from any Insurance company or
       bonding company of any defects or inadequacies in the Property, or any part thereof, which
       would adversely affect the insurability of the same or cause the rmposition of extraordmary
       premiums or charges thereon or of any terrmnanon or threatened termination of any pohey of
       insurance or bond

                       (i)     All costs and expenses of any and all labor, materials, supphes and
      equipment used III the construcnon of the Improvements have been paid In full. Borrower has
      paid III full for, and IS the owner of, all furmshmgs, fixtures and equipment (other than tenants'
      property) used In connecnon with the operation of the Property, free and clear of any and all
      secunty interests, liens or encumbrances, except the hen and security mterest created hereby.

                     Section 3.6    SEPARATE TAX LOT. The Property IS assessed for real estate tax
      purposes as one or more wholly independent tax lot or lots, separate from any adjoimng land or
      improvements not constituting a part of such lot or lots, and no other land or Improvements IS
      assessed and taxed together with the Property or any portion thereof

                    Section 37     NO FOREIGN PERSON Borrower IS not a "foreign person" WIthin
      the meaning of Sectron 1445 of the Internal Revenue Code of 1986, as amended and the related
      Treasury Department regulations, mcluding temporary regulations,

                              Sectton 3 8    LEASES. (a) Borrower is the sole owner of the entire lessor's
      interest    111     the Leases, (b) the Leases are vahd, enforceable and III full force and effect; (c) the

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       terms of all alterations, modifications and amendments to the Leases are reflected in the certified
       occupancy statement delivered to and approved by Lender; (d) none of the Rents reserved in the
       Leases liave been assigned or otherwise pledged or hypothecated; (e) none of the Rents have
       been collected for more than one (1) month in advance; (f) the premises demised under the
       Leases have been completed and the tenants under the Leases have accepted the same and have
       taken possession of the same on a rent-paying basts; (g) there exist no offsets or defenses to the
      payment of any portion of the Rents, (h) Borrower has received no notice from any tenant
      challenging the valIdIty or enforceability of any Lease; (i) there are no agreements With the
      tenants under the Leases other than expressly set forth m each Lease; (j) no Lease contains an
      option to purchase, right of first refusal to purchase, or any other similar provision, (k) no Person
      has any possessory interest in, or right to occupy, the Property except under and pursuant to a
      Lease; (I) each Lease is or WIll be subordinate to the Secunty Instrument, either pursuant to its
      terms or a subordmation agreement; (m) no brokerage commissions or finders fees are due and
      payable regardmg any Lease; and (n) except as previously disclosed by Borrower to Lender In
      writing, no tenant under any of the Leases IS an Affiliate of Borrower.

                      Section 3.9   FINANCIAL CONDITION.          Borrower (a) IS solvent, and no
      bankruptcy, reorganization, Insolvency or similar proceeding under any state or federal law WIth
      respect to Borrower has been initiated, and (b) has received reasonably equivalent value for the
      granting of the Loan and the Security Instrument.

                     Secnon 3. 10 BUSINESS PURPOSES The proceeds of the Loan wJ1! be used by
     Borrower solely for busmess purposes and not for personal, family, household or agncultural .•
     purposes. No part of the proceeds of the Loan WIll be used for the purpose of purchasing or
     acquiring any "margin stock" within the meanmg of Regulation U of the Board 0 f Governors of
     the Federal Reserve System or for any other purpose which would be mconsistent with such
     Regulation U or any other Regulations of such Board of Governors, or for any purposes
     prohibited by legal requirements or by the terms and conditions of the Loan Documents

                    Sectron 3.11 TAXES. Borrower and any Guarantor have filed all federal, state,
     county, mumctpal, and city income and other tax returns required to have been filed by them and
     have paid all taxes and related liabilmes which have become due pursuant to such returns or
     pursuant to any assessments received by them. Neither Borrower nor any Guarantor knows of
     any baSIS for any additional assessment m respect of any such taxes and related habihties for
     pnor years

                      Section 3 12 No CHANGE IN FACTS OR CIRCUMSTANCES. All mfonnation in
     the applicatron for the Loan submitted to Lender and in all financial statements, rent rolls,
     reports, certificates and other documents submitted m connection WIth such loan application or In
     satisfaction of the terms thereof, are accurate, complete and correct in all matenal respects.
     There has been no adverse change In any condition, fact, circumstance or event that would make
     any such mformation Inaccurate, incomplete or otherwise materially misleading.

                    Section 3 13 DISCLOSURE Borrower has disclosed to Lender all material facts
     and has not failed to disclose any material fact that could cause any representanon or warranty
     made herein to be materially misleading Borrower has delivered to Lender a true, correct and
     complete rent roll for the Property (a "Rent Roll") which includes all Leases affecung the

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       Property (including schedules for all executed Leases for Tenants not yet in occupancy or under
       which the rent comm.encement date has not occurred).

                       Section 3.14 TI-lIRD PARTY REPRESENTATIONS. Each of the representations
       and the warranties made by each Guarantor herein or many of the other Loan Documents IS true
       and correct In all matenal respects

      Borrower recognizes and acknowledges that in accepnng the Loan Documents; Lender is
      expressly and pnrnanly relying on the truth and accuracy of the warranties and representations
      set forth in this Article 3 without any obhganon to investigate the Property and notwithstanding
      any mvestigation of the Property by Lender; that such reliance existed on the part of Lender prior
      to the date hereof; that the warranties and representations are a material inducement to Lender III
      accepting the Loan Documents; and that Lender would not be willmg to make the Loan In the
      absence ofthe warranties and representations as set forth III this Article 3.

               Article 4. -INSURANCE,                CASUALTY, CONDEMNATION         AND PROCEEDS

                             Section 4 1          INSURANCE

                    (a)     Borrower shall obtain and mamtain, or cause to be mamtamed, msurance
      for Borrower and the Property providing at least the following coverages:

                                      (i)   Insurance against loss or damage by fire, casualty and other
                             hazards as now are or subsequently may be covered by an "all nsk" policy or a
                             policy covenng "special" causes of loss, with such endorsements as Lender may
                             from time to time reasonably require including, without lirmtation, buildmg
                             ordinance and law covering the Improvements and Personal Property III an
                             amount equal to one hundred percent (100%) of the full insurable replacement
                             value of the Improvements and Personal Property (exclusive of footmgs and
                             foundanons below the lowest basement floor) without deduction for depreciation
                             The determmation of the replacement cost amount shall be adjusted annually to
                             comply WIth the requirements of the insurer issumg the coverage or, at Lender's
                             election, by reference to such mdexes, appraisals or mformation as Lender
                             determines in its reasonable discretion    Each policy shall, subject to Lender's
                             approval, contam a replacement cost endorsement, Without deduction for
                             depreciation and either an agreed amount endorsement or a waiver of any co-
                             insurance provisions, and shall provide for deductibles in such amounts as Lender
                             may permit m Its sole discretion

                                    (11)   Commercial general hability insurance under a policy containmg
                             "Comprehensive General Liability Form" of coverage (or a comparably worded
                             form of coverage) and the "Broad Form COL" endorsement (or a pohcy which
                             otherwise incorporates the language of such endorsement), providing coverage on
                             an occurrence (not "claims made") basis, which pohcy shall include, Without
                             limitation, coverage against claims for personal injury, bodily inJury, death and
                             property damage liability with respect to the Property and the operations related
                             thereto, and the following coverages: Employee as Additional Insured, Product


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                           Liability/Completed Operations, Independent Contractor, Personal Injury and
                           hired and non-owned automobile coverage (including rented and leased vehicles),
                           all of which shall be in such amounts as Lender may from time to time reasonably
                           require, but not less than One Million Dollars ($1,000,000) per occurrence with a
                           general aggregate limit of Two Milhon Dollars ($2,000,000) If such policy shall
                           cover more than one property, such limits shall apply on a "per location'' baSIS.

                                    (in)   Business income (Including loss of rents) Insurance covering losses
                           for risks as specified m this Section in an amount equal to (i) one hundred percent
                           (100%) of the actual busmess income (or Rents) for the precedmg twelve (12)
                          month period, (ii) the profits and estimated contmumg expenses for the twelve
                          (12) month period following a loss, or (iii) the "actual loss sustamed" for the
                          twelve (12) month period following a loss. The amount and coverage of such
                          business income Insurance shall be determined once each calendar year thereafter
                          based on Borrower's reasonable estimate of rental income or projected gross
                          revenues from operations, as the case may be, from the Property for the
                          succeeding twelve (12) months as approved by Lender Such business income
                          insurance shall include either an agreed amount endorsement or a waiver of any
                          co-insurance provisions, so as to prevent Borrower, Lender and any other insured
                          thereunder from being a co-insurer.

                                  (iv)   Dunng the penod of any new construction on the Land, a so-called
                         "Builder's AlI-RIsk Completed Value msurance policy in non-reportmg form for
                                                                II


                         any Improvements under construction, including, WIthout Itrmtation, for
                         demohtron and Increased cost of construction or renovation, m an amount equal to
                         one hundred percent (100%) of the estimated replacement cost value on the date
                         of completion, mcludmg 1180ft cost'' coverage, and Worker's Compensation
                         Insurance covering all persons engaged in such construction, m an amount at least
                         equal to the minimum required by law. In addition, each contractor and
                         subcontractor shall be required to provide Lender with a certificate of Insurance
                         for (1) Worker's Compensation Insurance covering all persons engaged by such
                         contractor or subcontractor III such construction m an amount at least equal to the
                         mnumum required by law, and (ii) general liability Insurance showing minimum
                         limits of at least FIve MIllion Dollars ($5,000,000), mcluding coverage for
                         products and completed operations. Each contractor and subcontractor also shall
                         cover Borrower and Lender as an additional Insured under such liability pohcy
                         and shall mdemmfy and hold Borrower and Lender harmless from and against any
                         and all claims, damages, liabilities, costs and expenses ansmg out of, relating to
                         or otherwise in connection WIth Its performance of such construction.

                                 (v)     Insurance covenng the major components of the central heating,
                         air conditioning and ventilating systems, boilers, other pressure vessels, high
                         pressure piping and machmery, elevators and escalators, if any, and other similar
                         equipment Installed in the Improvements, in an amount equal to one hundred
                         percent (l00%) of the full replacement cost of the Property, which policies shall
                         Insure against physical damage to and loss of occupancy and use of the
                         Improvements anstng out of an acctdent or breakdown covered thereunder.

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                                 (VI)    Flood Insurance with a deductible not to exceed FIve Thousand
                         Dollars ($5,000), or such greater amount as may be satisfactory to Lender In its
                         sole discretion, and in an amount equal to the full insurable value of the Property
                         or the maximum amount available, whichever IS less, if the Property IS located in
                         an area designated by the Secretary of Housing and Urban Development or the
                         Federal Emergency Management Agency as having special flood hazards

                               (vii)    Worker's compensation Insurance or other similar insurance WhICh
                         may be required by governmental authorities or applicable legal requirements rn
                         an amount at least equal to the mimmum required by law.

                                   (viii)Such other Insurance ooverages, In such amounts, and such other
                         forms and endorsements, as may from time to time be required by Lender and
                         which are customanly required by msntutional lenders to similar properties,
                         smnlarly situated, including, without lmutauon, coverages against other Insurable
                         hazards (including, by way of example only, terronsm and acts of terrorism,
                         earthquake, sinkhole and mine subsidence), which at the time are commonly
                         insured against and generally available,

                     (b)     AU insurance pohcies required under this Section (each, a "Pohey" and
     collectively, the "PolICIes") shall (1) have a term of not less than one year and (ii) be m the form
     and amount and WIth deductibles as, from time to time, shall be reasonably acceptable to Lender,
     under vahd and enforceable policies, All insurance policies shall be Issued by financially
     responstble msurers, either hcensed to transact business m the State where the Property IS
     located, or obtained through a duly authorized surplus line msurance agent or otherwise III
     conformity with the laws of such State, reasonably acceptable to Lender. Originals or certified
     copies of all Policies shall be delivered to and held by Lender.

                    (c)      AU Pohcies shall name Lender as an insured or additional insured, shall
     provide for loss payable to Lender and Borrower as therr interests may appear (Borrower
     agreemg to tum over to Lender any proceeds that it might otherwise receive for apphcation as set
     forth herem) and shall contain: (1) a standard "non-contrtbutory mortgagee It endorsement or Its
     equivalent and (11) a prOVISIonthat such policies shall not be canceled or amended, or failed to be
     renewed, WIthout at least thrrty (30) days pnor wntten notice to Lender

                     (d)    With respect to Policies which require payment of premiums annually, not
     less than ten (to) days pnor to the exptranon dates of such Policies, Borrower shall pay such
     amount, except to the extent Lender is reservmg sums therefor pursuant to the Loan Documents.
     Not less than ten (10) days pnor to the expiration dates of the Policies, onginals or certified
     copies of renewals of such Pohcies (or bmders evidencmg such renewals) beanng notations
     evidencing the payment of all Insurance Prerrnums or accompanied by other evidence
     satisfactory to Lender of such payment shall be delivered by Borrower to Lender. The Insurance
     Prerruurns shall not be paid by Borrower through or by any financmg arrangement unless
     otherwise approved by Lender Borrower shall not carry separate insurance, concurrent m kmd
     or form or contnbutmg m the event of loss, WIth any Insurance required under this Section.




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                     (e)    If Borrower fails to maintain and dehver to Lender the ongmal Policies
      required by this Agreement, Lender may, at its option, procure such insurance and Borrower
      shall payor, as the case may be, reimburse Lender for, all premiums thereon promptly, upon
      demand by Lender, with interest thereon at the Default Rate from the date paid by Lender to the
      date of repayment and such sum shall constitute a part of the Loan.

                     (f)    The insurance required may, at the option of Borrower, be effected by
      blanket and/or umbrella policies issued to Borrower or an Affiliate of Borrower covermg the
      Property and the properties of such Affiliate, provided that, in each case, the policies otherwise
      comply with the provisions of this Agreement and allocate to the Property, from time to time, the
      coverage specified by thrs Agreement, WIthout possibility of reduction or comsurance by reason
      of, or damage to, any other property (real or personal) named therein. If the msurance required
      by this Agreement shall be effected by any such blanket or umbrella pohcres, Borrower shall
      furrush to Lender anginal policies or certified copies thereof, WIth schedules attached thereto
      showmg the amount of the insurance provided-under such policies which IS apphcable to the
      Property.

                    (g)     Neither Lender nor Its agents or employees shall be liable for any loss or
     damage insured by the Policies; It bemg understood that (I) Borrower shall look solely to Its
     insurance company for the recovery of such loss or damage, (n) such msurance company shall
     have no rights of subrogation against Lender, Its agents or employees, and (Ill) Borrower shall
     use Its best efforts to procure from such insurance company a waiver of subrogation nghts
     against Lender .. If, however, any Poltcy does not provide for a waiver of subrogation fights
     against Lender (whether because such a waiver is unavailable or otherwise), then Borrower
     hereby agrees, to the extent permitted by law and to the extent not prohibited by such Policy, to
     waive Its nghts of recovery, If any, agamst Lender, Its agents and employees, whether resultmg
     from any damage to the Property, any liability claim in connection with the Property or
     otherwise, If any such Policy shall prohibrt Borrower from waiving such claims, then Borrower
     must obtain from such Insurance company a warver of subrogation rights agamst Lender

                      Section 4 2    CONDEMNATION.       Borrower shall promptly give Lender notice of
     the actual or threatened commencement of any Condemnation proceeding and shall deliver to
     Lender copies of any and all papers served m connection with such proceedings.
     Notwithstandmg any taking by any pubhc or quasi-public authonty through Condemnation,
     Borrower shall continue to pay the Debt at the time and In the manner provided for Its payment
     m the Note and the Debt shall not be reduced until any Award shall have been actually received
     and apphed by Lender, after the deduction of expenses of collecnon, to the reduction or
     discharge of the Debt. Lender shall not be Imuted to the Interest paid on the Award but shall be
     entitled to recerve out of the Award interest at the rate or rates provided or m the Note. Lender
     may apply any Award to the reduction or discharge of the Debt whether or not then due and
     payable or to the Restoration of the Property in Its sale and absolute discretion. If the Property IS
     sold, through foreclosure or otherwise, prior to the receipt by Lender of the Award, Lender shall
     have the nght, whether or not a deficiency judgment on the Note shall have been sought,
     recovered or dented, to receive the Award, or a portion thereof sufficient to pay the Debt.




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                            Section 4.3           RESTORATION.

                       (a)    In the event that the loss 1S less than or equal to One Hundred Thousand
       and 00/100 Dollars ($100,000.00), Lender shall apply the insurance proceeds actually received to
       restoration, provided no Event of Default shall have occurred and be continuing under any of the
       Loan Documents and Borrower promptly commences and IS dihgently pursumg restoration of
       the Property to nearly as possible the condition of the Property was III immediately pnor to the
       Casualty (the "Restoranon").

                      (b)    In the event that the loss exceeds One Hundred Thousand and 00/100
       Dollars ($100,000.00), Lender shall make the Net Proceeds available to the Borrower for
       Restoration provided that each of the followmg conditions IS satisfied:

                                    (1)    no Event of Default shall have occurred and be continumg under
                            any of the Loan Documents;

                                      (n)         the Net Proceeds shall not exceed the outstandmg amount of the
                            Debt;

                                   (ill)   Lender shall determme that the Restoration can be completed prior
                           to the earlier of (A) the date occumng twelve (12) months pnor to the Maturity
                           Date, or (B) the date occumng twelve (12) months after the date of the Casualty,

                                    (iv)  Borrower shall commence the restoration as soon as reasonably
                           practicable (but in no event later than sixty (60) days after such damage or
                           destruction occurs) and shall diligently pursue the same to satisfactory completion
                           in a good and workmanlike manner;

                                   (v)    Lender shall be satrsfied in Its sole discretion that any operating
                           deficits which will be incurred with respect to the Property as a result of the
                           OCCurrence of the Casualty, mc1udmg a reasonable penod thereafter for leasing
                           the Property, will be covered out of (A) the Net Proceeds, (B) the rental or
                           business income msurance coverage, or (C) other funds of Borrower,

                                   (vi)   Lender shall be satisfied In Its sole discretion that, upon the
                           completion of the Restoration, the gross cash flow and the net cash flow of the
                           Property, takmg mto consideratton any Leases which may be termmated as a
                           result of such Casualty, will be restored to a level sufficient to cover all carrying
                           costs and operatmg expenses of the Property;

                                   (vii) the Restoration shall be performed and completed by Borrower 10
                           an expedmous and diligent fashion III a good and workmanhke manner to
                           accordance with plans and specificattons therefor approved by Lender (as
                           provided in subsection (c) below) and in compliance WIth all Applicable Laws,
                           and

                                     (VIiI)
                                      Borrower shall deliver to Lender evidence satisfactory to Lender
                          (WhICh may mclude certrficates of governmental authonues, endorsements to

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                             Lender's title msurance policy and/or legal opinions) that, following the
                             completion of the Restoration, the Property and the use thereof will be in
                             compliance with and permitted under an Applicable Laws.

                     (c)     The Net Proceeds shall be held by Lender and, until disbursed m
      accordance WIth the provisions of this Section, shall constitute addinonal security for the Loan.
      Provided all of the condttions set forth m Subsection 4.3(b) have been and remain satisfied, then
      the following shall apply:

                                    (i)      The Net Proceeds shall be disbursed by Lender to, or as directed
                            by, Borrower from time to time dunng the course of the Restoration, upon receipt
                            of evidence satisfactory to Lender that (A) all materials installed and work and
                            labor performed (except to the extent that they are to be paid for out of the
                            requested disbursement) in connection With the Restoration have been paid for in
                            full, and (B) there exist no notices of pendency, stop orders, mechanic's or
                            materialman's liens or nonces of intention to file same, or any other hens or
                            encumbrances of any nature whatsoever on the Property ansmg out of the
                            Restoration which have not erther been (A) fully bonded and discharged of record
                            or (B) fully insured, to the satisfaction of Lender

                                    (ii)    All plans and specifications In connection With the Restoration
                            shall be subject to prior review and approval III all respects by Lender and by the
                            Restoratton Consultant, which approval shall not be unreasonably WIthheld or
                            delayed. Lender shall have the use of the plans and specifications and all permits,
                            licenses and approvals required or obtained m connection WIth the Restoration.
                            All costs and expenses Incurred by Lender In connection With making the Net
                            Proceeds available for the Restoration including, WIthout limrtatron, reasonable
                            counsel fees and disbursements and the Restoration Consultant's fees, shall be
                            paid by Borrower.

                                      (Iii)   Untrl such time as the Restoration has been completed and Lender
                             shall have received copies of any and all final certificates of occupancy or other
                             certrficates, licenses and permits required for the ownership, occupancy and
                            operation of the Property in accordance WIth all Applicable Laws, Lender shall be
                            entitled to retain, and not disburse, up to ten percent (10%) of the cost of the
                            Restoration, as determined by the Restoration Consultant (the "Restoration
                                      . ") Borrower hereby covenants dihgently to seek to obtam any such
                            certificates, licenses and permits        Promptly after the completion of the
                            Restoration and delivery of such certificates, hcenses and permits III acoordance
                            WIth the provisions hereof, provided no Event of Default shall then be contmumg,
                            Lender shall disburse the Restoration Retamage to or as directed by Borrower,
                            subject, however, to Lender's right to apply any excess proceeds remaining after
                            the completion of the Restoration to the payment of the Debt.

                                    (IV)     If at any time the Net Proceeds or the undisbursed balance thereof
                            shall not, III the opmton of Lender, be sufficient to pay In full the balance of the
                            costs which are estimated by the Restoration Consultant to be mcurred In


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                               connection with the completion of the Restoration, Borrower shall deposit the
                               deficiency with Lender, which shall thereafter be treated as Net Proceeds, before
                               any further disbursement of the Net Proceeds shall be made.

                                        (v)    The excess, If any, of the Net Proceeds remaimng after the
                               Restoration Consultant certifies to Lender that the Restoration has been completed
                               In accordance with the provrstons of this Section 4.3, and the receipt by Lender of
                               evidence satisfactory to Lender that all costs incurred in connection with the
                               Restoration have been paid in full, shall be retained and applied by Lender toward
                               the payment of the Debt whether or not then due and payable tn such order,
                               priority and proportions as Lender in its discrenon shall deem proper.

                      (d)     Notwithstanding any provision of thrs Agreement to the contrary, all Net
       Proceeds not required to be made available for the Restoration may be retained and applied by
       Lender toward the payment of the Debt whether or not then due and payable in such order,
       pnonty and proportions as Lender In Its discretion shall deem proper or, at the discretion of
       Lender, the same may be paid, either III whole or 10 part, to Borrower for such purposes as
       Lender shall designate, in Its sole discretion,

                                                Article 5. - BORROWER   COVENANTS

                       Section 5.1    PROPERTY USE. The Pr.operty shall be used only as a residential
       property and for no other use without the pnor written consent of Lender, WhIChconsent may be
       WIthheld III Lender's sole and absolute discretion.

                      Section 5 2   PAYMENT OF TAXES, ETC.         (a) Except to the extent sums
      sufficient to pay all Taxes and Other Charges have been deposited with Lender In accordance
      WIth the terms of this Agreement, Borrower shall promptly pay all Taxes and Other Charges, and
      all charges for unhty services provided to the Property at least five (5) days pnor to the date
      upon which any fine, penalty, mterest or cost for nonpayment is Imposed, and furnish to Lender
      upon request receipted bills of the appropriate taxing authority or other documentation
      reasonably satisfactory to Lender evidencing the payment thereof. Borrower shall not suffer and
      shall promptly cause to be paid and discharged any lien or charge whatsoever which may be or
      become a hen or charge against the Property.

                     (b)     If Borrower fails to pay all Taxes and Other Charges, Lender may, at its
      option, pay such Taxes and Other Charges, and Borrower shall payor, as the case may be,
      reimburse Lender for, all amounts advanced for the payment of Taxes or Other Charges,
      promptly, upon demand by Lender, WIth Interest thereon at the Default Rate from the date paid
      by Lender to the date of repayment and such sum shall constitute a part of the Debt and the Loan

                     (c)     After pnor wntten notice to Lender, Borrower, at Its own expense, may
      contest by appropriate legal proceeding, promptly mitiated and conducted in good faith and WIth
      due diligence, the amount or validity or application III whole or in part of any of the Taxes or
      Other Charges or any claims or Judgments of mechanics, materialmen, suppliers or vendors or
      any hen therefor, provided that (i) no Event of Default has occurred and IS contmuing hereunder
      or under any of the other Loan Documents, (ii) Borrower is not prohibited from doing so under


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              the provisions of any other agreement affectmg either Borrower or the Property, (ill) such
             proceeding shall suspend the collection of the disputed amount from Borrower and from the
             Property (and Borrower shall furnish such security as may be required in the proceeding for such
             purpose), or Borrower shall have bonded over or paid all of the disputed amount under protest,
             (IV) neither the Property nor any part thereof or interest therein will be In danger of bemg sold,
             forfeited, terminated, canceled or lost, and (v) Borrower shall have deposited wrth Lender

.-           adequate reserves for the payment of the disputed amount, together with all interest and penalties
             thereon, unless Borrower has bonded over or paid all of the disputed amount under protest.

                            Section 5.3     LEASES AND RENTS. (a) Except as otherwise consented to by
             Lender, all Leases shall he wntten on the standard form of lease WhICh shall have been approved
            by Lender. Upon request, Borrower shall furmsh Lender with executed copies of all Leases. No
            material changes may be made to the Lender-approved standard lease without the prior wntten
            consent of Lender. Borrower (I) shall observe and perform all the obhganons Imposed upon the
            lessor under the Leases and shall not do or permit to be done anythmg to impair the value of the
            Leases as security for the Debt, (ii) shall promptly send COplCS to Lender of all notices of default
            which Borrower shall send or receive thereunder; (iii) shall enforce all of the terms, covenants
            and condmons contained m the Leases upon the part of the lessee thereunder to be observed or
            performed, short of termmauon thereof; (IV) shall not collect any of the Rents more than one (1)
            month in advance; (v) shall not execute any other assignment of the lessor's interest 10 the Leases
            or the Rents; and (VI) shall not consent to any assignment of or subletting under any Lease not in
            accordance WIth its terms, WIthout the prior written consent of Lender, which consent shall not
            be unreasonably withheld or delayed.

                           (b)    All security deposits of lessees, whether held in cash or any other form,
           shall be treated by Borrower as trust funds, shall not be commmgled WIth any other funds of
           Borrower and, if cash, shall be deposited by Borrower at a federally Insured institution
           reasonably satisfactory to Lender.

                            (c)     Borrower may enter into a proposed Lease (including the renewal or
            extension of an existmg Lease (a "Renewal Lease"» without the pnor wntten consent of Lender,
           provided such proposed Lease or Renewal Lease (1) provides for rental rates and terms
            comparable to existing local market rates and terms (takmg into account the type and quahty of
           the tenant) as of the date such Lease IS executed by Borrower (unless, In the case of a Renewal
           Lease, the rent payable dunng such renewal, or a formula or other method to compute such rent,
           IS provided for m the ongmal Lease), (n) IS an arm's-length transaction with a bona fide,
           mdependent third party tenant, (Iii) does not have a materially adverse effect on the value of the
           Property taken as a whole, (iv) IS subject and subordinate to the Security Instrument and the
           Tenant thereunder agrees to attorn to Lender, (v) does not contain any option, offer, right of first
           refusal, or other SImilar fight to acquire all or any pornon of the Property, (VI) has a base term of
           less than fifteen (15) years mcludmg options to renew, (vn) has no rent, credits, free rents or
           concessions granted thereunder, and (viii) IS wntten on the standard form of lease approved by
           Lender All proposed Leases which do not satisfy the requirements set forth 111 this subsection
           shall be subject to the prior approval of Lender and ItS counsel, at Borrower's expense Borrower
           shall promptly deltver to Lender copies of all Leases which are entered into pursuant to this
           subsection together With Borrower's certification that It has satisfied all of the conditions of this
           Sectton


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                        (d)    Borrower may, without the consent of Lender, amend, modify or warve
        the provisions of any Lease or terminate, reduce Rents under, accept a surrender of space under,
        or shorten the term of, any Lease (including any guaranty, letter of credit or other credit support
        with respect thereto) provided that such action (taking into account, tn the case of a termination,
       reduction in rent, surrender of space or shortening of term, the planned alternative use of the
       affected space) does not have a materially adverse effect on the value of the Property taken as a
       whole, and provided that such Lease, as amended, modified or waived, is otherwise In
       compliance with the requirements of thts Agreement and any subpwatlOn               agreement binding
       upon Lender WIth respect to such Lease. A termination of a Lease with a tenant who is in default
       beyond apphcable nonce and grace periods shall not be considered an action WhICh has a
       materially adverse effect on the value of the Property taken as a whole. Any amendment,
       modification, waiver, termination, rent reduction, space surrender or term shortenmg which does
       not satisfy the requirements set forth m this subsection shall be subject to the prtor approval of
  _r   Lender and its counsel, at Borrower's expense. Borrower shall promptly deltver to Lender copies
       of amendments, modifications and waivers which are entered mto pursuant to this subsection
       together WIth Borrower's certification that It has satisfied all of the conditions of this subsection.

                       (e)    Notwithstandmg anything contamed herein to the contrary, Borrower shall
       not, WIthout the prior wntten consent of Lender, enter into, renew, extend, amend, modify, warve
       any provisrons of, terminate, reduce Rents under, accept a surrender of space under, or shorten
       the term of any Major Lease.

                      Section 5.4    MAINTENANCE OF PROPERTY.           (a) Borrower shall cause the
       Property to be maintained in a good and safe condition and repair and shall not commit or suffer
       any waste of the Property or do or permit to be done thereon anything that may in any way
       impair the value of the Property. The Improvements and the Personal Property shall not be
       removed, demolished or matenally altered (except for normal replacement of the Personal
       Property) WIthout the consent of Lender, which consent shall not be unreasonably WIthheld or
       delayed.

                      (b)       Borrower shall not initiate, jom in, acquiesce in, or consent to any change
       in any private restrictive covenant, zoning law or other public or private restriction, hmiting or
       defimng the uses which may be made of the Property or any part thereof. If under apphcable
       zoning provisions the use of all or any portion of the Property IS or shall become a
       nonconformmg use, Borrower WIll not cause or permit the nonconformmg use to be discontinued
       or abandoned without the express wntten consent of Lender.

                      Section 5 5     COMPLIANCE WITH LAWS. Borrower shall promptly comply WIth
       aU Legal Requirements. Borrower shall give prompt nonce to Lender of the receipt by Borrower
       of any nonce related to a violation of any Legal Requirements and of the commencement of any
       proceedings or mvestigauons WhIChrelate to compliance WIth Legal Requirements

                      Borrower shall have the nght, after pnor wntten notice to Lender, to contest by
       appropnate legal proceedings dihgently conducted m good faith, WIthout cost or expense to
       Lender, the validity or application of any Legal Requirements and to suspend compltance
       therewith If permuted under Legal Requirements, provided (1) failure to comply therewith may
       not subject Borrower or Lender to any CIVIlor criminal liability, (11) pnor to and dunng such


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      contest, Borrower shall furnish to Lender secunty reasonably satisfactory to Lender against loss
      or mjury by reason of such contest or non-compliance with such Legal Requirements, (iii) no
      Event of Default shall exist dunng such proceedings, and such contest shall not otherwise violate
      any of the provisions of any of the Loan Documents, and (IV) such contest shall not subject the
      Property to any hen or encumbrance the enforcement of which IS not suspended by such contest
      or otherwise affect the pnority of the hen of the Security Instrument

                     Section 5 6     BOOKS AND RECORDS. (a) Borrower and Guarantor, shall keep
     adequate books and records of account in accordance with GAAP or in accordance WIth other
     methods acceptable to Lender in Its sole discretion, consistently applied and shall furnish to
     Lender the following, which shalt be prepared, dated and certified by Borrower (or by Guarantor,
     to the extent such Items relate to Guarantor) as true, correct and complete in the form required by
     Lender, unless othenvise specified below:

                                   (1)     quarterly operating statements of the Property, detailing the
                           revenues received, the expenses incurred and the net operatmg income before and
                           after debt service (pnncipal and interest) and major capital Improvements for that
                           quarter and contammg appropriate year to date information, withm thirty (30)
                           days after the end of each fiscal quarter;

                                   (ii)    an annual personal financial statement, wrthm thirty (30) days after
                           the close of each fiscal year of Borrower;

                                   (hi)    an annual mcome tax returns, within ninety (90) days after the
                           close of each fiscal year of Borrower and Guarantors, as the case may be; and

                                   (IV)   such other financial statements, and such other information and
                           reports as may, from time to time, be required by Lender.

                    (b)     Borrower and any Guarantor shall furnish Lender with such other
    additional financial or management tnformation (including State and Federal tax returns) as may,
    from time to time, be reasonably required by Lender m form and substance satisfactory to
    Lender, includmg, WIthout lmutatron, a property management report for the Property, showing
    the number of inquiries made and/or rental apphcations received from tenants or prospective
    tenants and deposits received from tenants and any other mformation requested by Lender, m
    reasonable detail and certified by Borrower as true, correct and complete

                    (c)    Following the occurrence of an Event of Default, or If Lender has reason
    to believe that any Item furnished under this Section IS matenally maccurate or misleading,
    Lender shall have the nght, but not the obligation, to obtam any of the financial statements and
    other items required to be provided under this Section by means of an audit by an mdependent
    certified public accountant selected by Lender, in which event Borrower agrees to pay, or to
    reimburse Lender for, any expense of such audrt and further agrees to provide all necessary
    mformation to said accountant and otherwise to cooperate In the performance of such audrt.

                  Section 5.7     MECHANICS' AND OTHER LIENS          Subject to the provisions of
    Section 52(c), Borrower will promptly pay when due all bi11s and costs of all mechamcs,
    materialmen, supp hers , vendors and others for labor, matenals and other property incurred in

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        connection with the Property and never permit to exist beyond the due date thereof m respect of
        the Property or any part thereof any hen, charge, encumbrance or security interest, even though
        infenor to the liens and the security interests hereof. Subject to the prOVISIOnsof Section 5.2(c),
        Borrower WIn discharge or promptly cause to be bonded or discharged by bonding (m the form
        of cash or a letter of credit), payment, final order of a court of competent jurisdiction or
        otherwise, any other or additional lien, charge, encumbrance or secunty interest m respect of the
        Property or any part thereof, except for the Permitted Exceptions

                       Section 5.8   MANAGEMENT OF THE PROPERTY.               The management of the
       Property shall be by either: (a) Borrower or an Affihate of Borrower approved by Lender for so
       long as Borrower or said Affiliate is managing the Property in a commercially reasonable
       manner satisfactory to Lender; or (b) a professional property management company approved by
       Lender, WhIChapproval shall not be unreasonably withheld. Such management by an Affiliate or
       a professional property management company shall be pursuant to a wntten agreement approved
       by and collaterally assigned to Lender, which shall provide that all rights of the manager
       thereunder shall be subject and subordinate to the lien of the Secunty Instrument and Lender's
       rights thereunder In no event shall any manager be removed or replaced by Borrower or the
      terms of any management agreement modified or amended In any matenal respect or termmated
      by Borrower without the prior wntten consent of Lender If an Event of Default shall occur,
      Lender shall have the nght to terminate, or to dtrect Borrower to terminate, such management
      contract upon thtrty (30) days' notice and to retain, or to direct Borrower to retam, a new bona-
      fide, independent thud party management agent approved by Lender in Its reasonable drscretion
      to manage the Property. Borrower shall (i) dihgently perform and observe all of the terms,
      covenants and conditions of any management agreement on the part of Borrower to be performed
      and observed and (11) promptly deltver to Lender a copy of any notice of default either given or
      received by Borrower under any such management agreement

                    Section 59     PERFORMANCE OF OTHER AGREEMENTS Borrower shall observe
      and perform each and every term to be observed or performed by Borrower pursuant to the terms
      of any agreement or recorded instrument affecting or pertammg to Borrower or the Property, or
      gIven by Borrower to Lender for the purpose of further securing an Obligation and any
      amendments, modifications or changes thereto.

                      Section 5 10 ACCESS TO PROPERTY. Borrower shall permit Lender, Its agents
      and representatives to inspect the Property at reasonable hours upon reasonable advance nonce a
      mimmum of once per year

                    Section 5.11 LITIGA nON Borrower shall give prompt notice of any htigatron
      or governmental proceeding pending or threatened agamst Borrower or Guarantor which might
      matenally adversely affect Borrower's or Guarantor's condinon, financial or otherwise, or the
      Property.

                       Section 5.12 AL TERATIONS. Lender's prior approval shall be required m
      connection WIth any alterations to any Improvements, exclusive of alterations to tenant spaces
      required under any Lease, (a) that may have a material adverse effect on the Property, (b) that are
      structural III nature, or (c) that, together with any other alterations undertaken at the same time
      (including any related alterations, Improvements or replacements), are reasonably antictpated to


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       have a cost m excess ofthe Alteration Threshold. If the total unpaid amounts incurred and to be
       incurred with respect to such alterations to the Improvements shall at any time exceed the
       Alteration Threshold, Lender, in its sale discrenon, may require Borrower to establish a reserve
       for such amounts.
                                                                                                  ,-


                           Section 5 13 BANKING RELATIONSHIP.               Borrower shall mamtain an account
       with Lender.

                       Section 5.14 COMPLIANCE WITH LENDER. With regard to the Loan, the
       undersigned parties agrees to cooperate fully with the Lender, including directing of any trust
       holding title to the subject property to execute, re-execute, correct and complete any and all
       documents evidencing, secunng, or related to the above described loans III the event Bank should
       discover a mistake or error III any of the documents. Such correction, completions and re-
       executions shall be for the sole and hmited purpose of conformmg the Loan Documents to the
       terms and conditions set forth III the Lender's commitment letter and this Loan Agreement, and
       shall not add any new terms or condttions

                                              Article 6•• ENTITY COVENANTS

                          Sectron 6.1         SINGLE PURPOSEENTlTy/SEPARATENESS

                          Until the Debt has been paid m full, Borrower represents, warrants and covenants
       as follows.

                          (a)      Borrower has not and Will not.

                                  (1)   engage III any busmess or activity other than the ownership,
                          operation and maintenance of the Property, and activities mcidental thereto,

                                 (11)   acquire or own any assets other than (A) the Property, and (B) such
                         incidental Personal Property as may be necessary for the operation of the
                         Property;

                                   (Ill)   merge into or consolidate With any Person, or dissolve, terminate,
                         liquidate III whole or III part, transfer or otherwise dispose of all or substantially
                         all of its assets or change its legal structure;

                                   (iv)   fall to observe all applicable orgamzational formahnes, or fad to
                          preserve Its existence as an entity duly organized, vahdly existing and in good
                          standing (If applicable) under the applicable Legal Requirements of the
                         jurisdiction of its organization or formation, or amend, modify, termmate or fall to
                         comply with the provisions of Its organizational documents;

                                   (v)        own any subsidiary, or make any investment in, any Person,

                                   (VI)       commingle Its assets With the assets of any other Person,




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                                   (vn)   mcur any debt, secured or unsecured, direct or contingent
                           (mcludmg guaranteemg any obhganon), other than (A) the Debt, (B) trade and
                           operational indebtedness incurred in the ordinary course of business with trade
                          creditors, provided such indebtedness is (1) unsecured, (2) not evidenced by a
                          note, (3) on commercially reasonable terms and conditions, and (4) due not more
                          than SIXty (60) days past the date mcurred and paid on or pnor to such date,
                          and/or (C) financing leases and purchase money Indebtedness incurred in the
                          ordmary course of busmess relatmg to Personal Property on commercially
                          reasonable terms and conditions; provided however, the aggregate amount of the
                          indebtedness described in (B) and (C) shall not exceed at any time three percent
                          (3%) of the outstanding principal amount of the Note;

                                   (vui)      fall to mamtam its records, books of account, bank accounts,
                         financial statements, accountmg records and other entity documents separate and
                         apart from those of any other Person; except that Borrower's financial position,
                         assets, liabilities, net worth and operating results may be mcluded in the
                         consolidated financial statements of an Affiliate, provided that such consolidated
                         finanoial statements contam a footnote indicating that Borrower IS a separate legal
                         entity and that It maintains separate books and records;

                                  (ix)   enter into any contract or agreement with any general partner,
                         member, shareholder, pnncipal, guarantor of the obligations of Borrower, or any
                         Affiliate of the foregoing, except upon terms and conditions that are mtnnsically
                         fair, commercially reasonable and substantially Similar to those that would be
                         available on an arm's-length baSISwith unaffihated third parties;

                                  (x)     maintam Its assets in such a manner that it will be costly or
                         difficult to segregate, ascertam or idennfy ItS individual assets from those of any
                         other Person;

                                 (xi)    assume or guaranty the debts of any other Person, hold Itself out to
                         be responsible for the debts of any other Person, or otherwise pledge Its assets for
                         the benefit of any other Person or hold out Its credrt as being available to satisfy
                         the obligations of any other Person,

                                  (xri)       make any loans or advances to any Person;

                                (xiii) farl to file Its own tax returns or files a consolidated federal mcome
                        tax return with any Person (unless prohibited or requrred, as the case may be, by
                        applicable Legal Requirements);

                                 (xiv) fail either to hold Itself out to the public as a legal entity separate
                        and distmct from any other Person or to conduct Its business solely III Its Own
                        name or fall to correct any known misunderstandmg regardmg Its separate
                        Identity;




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                                     (xv) fall to maintain adequate capital for the normal obhganons
                              reasonably foreseeable in a business of its size and character and m light of its
                              contemplated bus mess operations;

                                     (xvi) fall to allocate shared expenses (includmg, without hmitanon,
                              shared office space and services performed by an employee of an Affiliate)
                              among the Persons shanng such expenses or to use separate stationery, invoices
                              and checks;

                                       (xvii) fall to remain solvent or pay its own habihties (mcluding, without
                              limitation, salanes of Its own employees) only from Its own funds;

                                      (xviri) acquire obligations or secunties     of Its partners,   members,
                              shareholders or other affihates, as applicable;

                              Section 6.2        CHANGE OF NAME,     IDENTITYOR STRUCTURE

                     Borrower shall not change or permit to be changed (a) Borrower's name, (b)
      Borrower's tdentity (including its trade name or names), (c) Borrower's prmcipal place of
      business set forth on the first page of this Agreement, (d) the corporate, partnership, hmrted
      habtlity company or other organizational structure of Borrower, (e) Borrower's state of
      organrzation, or (t) Borrower's orgamzational idenufication number, WIthout in each case
     notifymg Lender of such change in writing at least tlurty (30) days prior to the effective date of
     such change and, in the case of a change in Borrower's structure, without first obtammg the pnor
     written consent of Lender. Borrower authonzes Lender to file any financmg statement or
     financmg statement amendment required by Lender to establish or maintain the validity,
     perfection and priority of the security interest granted herein. At the request of Lender,
     Borrower shall execute a certificate in form satisfactory to Lender hsnng the trade names under
     which Borrower intends to operate the Property, and representmg and warranting that Borrower
     does business under no other trade name with respect to the Property. If Borrower does not now
     have an organizanonal identification number and later obtains one, or If the orgaruzanonal
     Identification number assigned to Borrower subsequently changes, Borrower shall promptly
     notify Lender of such organizational rdentification number or change

                             Section 6.3         BUSINESS AND OPERATIONS


                   Borrower WIll quahfy to do business and will remam In good standmg under the
     laws of the State as and to the extent the same are required for the ownership, mamtenance,
     management and operation of the Property

                                                     Article 7. - TRANSFERS

                             Section 7.1         TRANSFERS   BYBORROWER

                     Except with the prior wntten consent of Lender, Borrower agrees that Borrower
     shall not Transfer the Property or any part thereof or permrt the Property or any part thereof to be
     Transferred.


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                        Section 7.2   PERMITIED TRANSFERS. Notwithstanding any other provision of
       this Section to the contrary, the following transfers shall be permitted without the Lender's
       consent:    (a) transfers of partnership interests, membership interests or corporate shares in
       Borrower or any entity holding an interest in Borrower between or among partners, members or
       shareholders existing as such on the date hereof, (b) transfers of partnership interests,
       membership interests or shares in Borrower to immediate family members of existrng partners,
       members or shareholders or to trusts for estate planning purposes for the benefit of existing
       partners, members or shareholders or members of the transferor's nnmedtate family; or (c) the
       sale or transfer m one or a senes of transactions of not more than forty-mne percent (49%) of the
       shares, limited partnership interests (but not of the general partner) or non-managing
       membership mterests of Borrower. Borrower shall give Lender ten (10) days' prior written
       notice of any permitted transfer

                                                 Article 8•• RESERVE FUNDS

                       Section 8.1    TAX RESERVE FUND. Lender reserves the nght to establish an
       account sufficient to discharge Borrower's obliganons for the payment of Real Estate Taxes

                      Section 8.2     INSURANCE PREMIUM RESERVE            Lender reserves the right to
       establish an account sufficient to discharge Borrower's obligations for the payment of Insurance
       Premiums.

                          Section 8.3          REPLACEMENTS. [Intentionally omitted.]

                          Section 8.4          RESERVE FUNDS GENERALLY

                          (a)      No earrnngs or mterest on the Reserve          Funds   shall be payable   to
       Borrower.

                      (b)    Borrower grants to Lender a first-priority perfected security interest Ill,
      and assigns and pledges to Lender, any and all Reserve Funds as additional secunty for payment
      of the Debt. Until expended or apphed in accordance herewith, the Reserve Funds shall
      constitute additronal security for the Debt. The provisions of this Section are intended to give
      Lender or any subsequent holder of the Loan "control" of the Reserve Accounts wtthm the
      meanmg of the uee.

                     (c)     Any and all Reserve Funds shall be subject to the exclusive dorrurnon and
      control of Lender, whrch shall hold any or all Reserve Funds subject to the terms and condrnons
      of this Agreement Borrower shall have no right of WIthdrawal from the Reserve Funds except
      as expressly provided in this Agreement.

                     (d)    Lender shall furnish or cause to be furnished to Borrower, without charge,
      an annual accountmg of each Reserve Account In the normal format of Lender or Its loan
      servicer, showing credits and debits to such Reserve Account and the purpose for which each
      debit to each Reserve Account was made.

                     (e)    If any Event of Default occurs, Borrower shall immediately lose all of ItS
      nghts to receive disbursements until the earlier to occur of (i) the date on which such Event of

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         Default is cured to Lender's satisfaction, or (11) the payment in full of the Debt. Upon the
         occurrence of any Event of Default, Lender may exercise any or all of Its nghts and remedies as
         a secured party, pledgee and henholder with respect to the Reserve Accounts. Without limttatron
         of the foregoing, upon any Event of Default, Lender may use and disburse the Reserve Funds (or
         any portion thereof) for any of the following purposes: (A) repayment of the Debt, mcludmg, but
         not Irrmted to, principal prepayments and the prepayment premium applicable to such full or
        partial prepayment (as applIcable); (B) reimbursement of Lender for all losses, fees, costs and
        expenses (including, without lmutation, reasonable legal fees) suffered or Incurred by Lender as
        a result of such Event of Default; (C) payment of any amount expended in exercising any or all
        rights and remedies available to Lender at law or In equity or under this Agreement or under any
        of the other Loan Documents; (D) payment of any item from any of the Reserve Accounts as
       required or permitted under thts Agreement; or (E) any other purpose permitted by apphcabJe
        law; provided, however, that any such application of funds shall
       any Event of Default. WIthout lmntmg any other provisions hereof, each of the remedial actions
       described In the immediately preceding sentence shall be deemed to be a commercially
       reasonable exercise of Lender's nghts and remedies as a secured party with respect to the
       Reserve Funds and shall not in any event be deemed to constitute a setoff or a foreclosure of a _
       statutory banker's hen. Nothmg in this Agreement shall obligate Lender to apply all or any
       portion of the Reserve Funds to effect a cure of any Event of Default, or to pay the Debt, or in
       any specific order of pnority. The exercise of any or all of Lender'S nghts and remedies under
       this Agreement or under any of the other Loan Documents shall not In any way prejudice or
       affect Lender's nght to initiate and complete a foreclosure under the Secunty Instrument

                 (1)      The Reserve Funds shall not constitute escrow or trust funds and may be
      commmgled WIth other monies held by Lender

                                                     Article 9. - DEFAULTS; REMEDIES

                     Section 9.1      DEFAULTS. The occurrence of one or more of the following events
      shall be an event of default ("Event of Default"):

                              (a)           Ifany portion of the Debt is not paid when due,

                    (b)    If any other Obhgation IS not performed in accordance With the terms and
      condmons of this Agreement and the other Loan Documents;

                    (c)      If any of the Taxes or Other Charges is not paid at least five (5) days pnor
     to the date upon which any fine, penalty, interest or cost for nonpayment IS Imposed, except to
     the extent sums sufficient to pay such Taxes and Other Charges have been deposited WIth Lender
     in accordance with the terms of this Agreement;

                    (d)    If the Policies are not kept in full force and effect, or If the Pohores are not
     delivered to Lender upon request,

                             (e)        If the Property    IS   subject to actual waste or hazardous nuisance,

                             (t)        The occurrence of a transfer prohibited by Article 7 of this Agreement,


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                               (g)          If Borrower breaches any covenant with respect to Itself contained In
        Article 6;

                       (h)    If any representation or warranty contained herein or In any other Loan
        Document or If any of the information contained in any documentation provided to Lender by
        Borrower in conjunction with the Loan shall not be true and accurate 10 a11matenal respects as
        of the date made;

                       (i)     If anyone or more of Borrower or Guarantor: (1) shall file a VOluntary
        pennon     bankruptcy or for rehef under the federal Bankruptcy Act or any similar state or
                     10
       federal law; (n) shall file a pleading many proceeding admrttrng insolvency, (UI) shall not have
       vacated within SIXty (60) days after the filmg against Borrower or Guarantor of any Involuntary
       proceeding under the federal Bankruptcy Act or similar state or federal law; (iv) shall have a
       substantial part of anyone or more of their assets attached, seized, subjected to a writ or distress
       warrant, or levied upon, unless such attachment, seizure, writ, warrant or levy is vacated within
       SIXty (60) days; (v) shall make an assignment for the benefit of creditors or shall consent to the
       appomtment of a recerver or trustee or liquidator of all or the major part of Its property, or the
       Property; or (vi) shan not have vacated any order appornring a receiver, trustee or of any
       Borrower or Guarantor or all or a major part of any such person's property or the Property.

                       0)    If a notice of lien, levy or assignment IS filed or recorded with respect to
       the Property or with respect to all or any of the assets of Borrower by the United States
       '='              any department, agency or mstrumentahty thereof or by any state, county,
       municipal or other governmental agency, or if any taxes or debts owing at any time or times
       hereafter to anyone of them becomes a hen or encumbrances upon the Property or any-other of
       Borrower's assets and any of the foregoing IS not released, bonded or otherwise secured to
       Lender's reasonable satisfaction within sixty (60) days after the same becomes a hen or
       encumbrance;

                      (k)      If Borrower shall continue to be in default under any other term, covenant
       or condition of this Agreement not specified above, for thirty (30) days after notice to Borrower
       from Lender, provided however, If such default cannot reasonably be cured wrthin such thrrty
       (30) day penod and Borrower shall have commenced to cure such default within the thirty day
       (30) penod and Borrower shall thereafter diligently and expedrtiously proceed to cure for such
       additional time as is reasonably necessary but not to exceed SIXty(60) days.

                     Section 9.2     REMEDIES.      (a) Upon the occurrence of an Event of Default,
      Lender, at Its option and WIthout affectmg the hen created by any Security Instrument, or any
      other Loan Document or the pnonty of said lien or any other nght of Lender hereunder, may
      declare, WIthout further notice, all debt owing to Lender immediately due WIth Interest thereon at
      the Default Rate, whether or not such Event of Default IS thereafter remedied by Borrower and
      Lender may immediately proceed to foreclose the Security Instrument and to exercise any nght
      provided by the Security Instrument, the Note, the other Loan Documents, or any right, power,
      pnvilege or remedy at law or equtty or otherwise.

                    (b)    Any acnons taken by Lender shall be cumulative and concurrent and may
      be pursued independently, singularly, successively, together or otherwise, at such ttme and in


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       such order as Lender may determine m 1tS sole discretion, to the fullest extent perrnrtted by law,
       without impairing or otherwise affecting the other nghts and remedies of Lender

                       Section 9.3    RIGHT TO CURE DEFAULTS Upon the occurrence of any Event of
       Default or if Borrower fails to make any payment or to do any act as herem provided, Lender
       may, but without any obligation to do so and without notice to or demand on Borrower and
       without releasing Borrower from any obligation hereunder, make or do the same in such manner
       and to such extent as Lender may deem necessary to protect the secunty hereof. Lender IS
       authorized to enter upon the Property for such purposes, or appear In, defend, or bnng any action
       or proceeding to protect Its interest III the Property or to foreclose the Secunty Instrument or
       collect the Loan, and the cost and expense thereof (including reasonable attorneys' fees to the
       extent permitted by Jaw), with interest at the Default Rate, shall constitute a portion of the Loan
      and be secured by the Security Instrument and the Other Security Documents and shall be due
      and payable to Lender upon demand. All such costs and expenses incurred by Lender m
      remedying such Event of Default or such failed payment or act or in appearmg in, defending, or
      bringing any such actron or proceeding shall bear interest at the Default Rate, for the penod from
      that the incurrence of such cost or expense by Lender to the date of payment to Lender.

                      Section 9.4   ADDITIONAL ADMINISTRATIVE FEE. In addition to the Default
      Rate provided for In the Note, upon the failure of Borrower or any Guarantor to deliver any of
     the reports, statements or other items required to be delivered to Lender as provided In Section
      5.6 upon their due dates, if any such failure shall continue for ten (10) days following notice
     thereof from Lender, Borrower shall pay to Lender together with the scheduled monthly
     payments of principal and interest on the Note, for each month or portion thereof that any such
     report, statement or other item remains undelivered, an admmistratrve fee III the amount of Five
     Hundred Dollars ($500) multiplied by the number of such undelivered reports, statements or
     other Items. Borrower agrees that such administrative fee is a fair and reasonable fee necessary
     to compensate Lender for Its additional admmistrative costs under the CIrcumstances, IS not a
     penalty and is necessary to compensate Lender for increased costs and obhgations WhIChwill be
     incurred by Lender to thud parties III connection with the planned securitization of the Loan.

                                      Article 10. - ENVIRONMENTAL   MATTERS

                      Section 10.1 ENVIRONMENTAL         REPRESENTATIONS         AND     WARRANTIES
      Borrower represents and warrants, based upon a review of the wntten report(s) resulting from the
      environmental    assessment(s)   of the Property dehvered to Lender (collectively, the
      "Environmental Report") and information that Borrower knows or reasonably should have
      known, that. (a) there are no Hazardous Substances or underground storage tanks Ill, on, or
      under the Property, except those that are both (i) In compliance with all applicable
     Environmental Laws and, if required, with permits Issued pursuant thereto, and (11) either fully
     disclosed to Lender In wntmg pursuant to Environmental Report or are used by Borrower or
     tenants of the Property in the ordinary course of their business, (b) there are no past, present or
     threatened Releases of Hazardous Substances in, on, under or from the Property except as
     descnbed in the Environmental Report; (c) there is no threat of any Release of Hazardous
     Substances migrating to the Property except as described ill the Environmental Report, (d) there
     is no past or present non-compliance with Environmental Laws, or with permits Issued pursuant
     thereto, in connection with the Property except as described In the Environmental Report, (e)


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       Borrower does not know of, and has not received, any written or oral notice or other
       communication from any Person relating to Hazardous Substances or Remediation thereof, of
       possible hability of any Person pursuant to any Environmental Law, other environmental
       conditions in connection with the Property, or any actual or potential administrative or judicial
       proceedmgs in connection with any of the foregomg; and (f) Borrower has truthfully and fully
       provided to Lender, m writing, any and all Information relatmg to conditions in, on, under or
       from the Property that IS known to Borrower and that IS contained in Borrower's files and
       records, including, without lirrutation, any reports relating to Hazardous Substances Ill, on, under
       or from the Property and/or to the environmental condition of the Property.

                          Section 10.2 ENVIRONMENTAL COVENANTS. Borrower covenants and agrees
         that; (a) a11 uses and operations on or of the Property, whether by Borrower or any other Person,
         shall be III comphance WIth all Environmental Laws and permits issued pursuant thereto; (b)
        there shall be no Releases of Hazardous Substances in, on, under or from the Property; (c) there
        shall be no Hazardous Substances in, on, or under the Property, except those that are both (I) in
        compliance WIth all Environmental Laws and, if required, With permits Issued pursuant thereto)
        and (ti) fully disclosed to Lender in writmg or are used by Borrower or tenants of the Property In
        the ordinary course of their business; (d) Borrower shall keep the Property free and clear of all
        Environmental LIens, (e) Borrower shall, at its sole cost and expense, perform any
        environmental site assessment or other investigation of environmental condrtions in connection
        with the Property, pursuant to any reasonable wntten request of Lender if Lender has reason to
        suspect that a Release of a Hazardous Substance might have occurred (including, WIthout
        lmutation, sampling, testing and analysis of soil, water, air, budding materials and other
       materials and substances whether soltd, liquid or gas), and share with Lender the reports and
       other results thereof, and Lender and other Indemnified Parties shan be entttled to rely on such
       reports and other results thereof; (f) Borrower shall, at its sole cost and expense, comply WIth all
       reasonable written requests of Lender to (i) reasonably effectuate Remediation of any condition
       (including, without lirrutation, a Release of a Hazardous Substance) In, on, under or from the
       Property; (ii) comply WIth any Environmental Law; (ni) comply with any directrve from any
       governmental authority; and (iv) take any other reasonable action necessary or appropnate for
       protection of human health or the environment; (g) Borrower shall not do or aIIowany tenant or
       other user of the Property to do any act that materially increases the dangers to human health or
       the environment, poses an unreasonable nsk of harm to any Person (whether on or off the
       Property), impairs or may Impair the value of the Property, IS contrary to any requirement of any
       insurer, constitutes a pubhc or private nuisance, constitutes waste, or Violates any covenant,
       condition, agreement or easement apphcable to the Property; and (h) Borrower immediately
       upon becommg aware of the same shall nonfy Lender in writing of (A) any presence or Releases
      or threatened Releases of Hazardous Substances in, on, under, from or migrating towards the
       Property; (B) any non-compliance with any Environmental Laws related In any way to the
      Property; (C) any actual or potential Environmental Lien, (D) any required or proposed
      Remediation of environmental conditions relating to the Property; and (E) any wntten or oral
      notice or other communtcation of which Borrower becomes aware from any source whatsoever
      (including, WIthout limitanon, a governmental entity) relating in any way to Hazardous
      Substances or Remediation thereof, possible liability of any Person pursuant to any
      Environmental Law, other environmental conditions in connection WIth the Property, or any
      actual or potential admmtstranve or judicial proceedings m connection WIth anything referred to
      III this Article 10


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                       Section 10.3 LENDER'S RIGHTS. Lender and any other Person designated by
       Lender, including, without limitation, any receiver, any representative of a governmental entity,
       and any environmental consultant, shall have the nght, but not the obligation, to enter upon the
       Property at all reasonable times to assess any and an aspects of the environmental condition of
       the Property and its use, including, without limitation, conducting any environmental assessment..
       or audit (the scope of which shall be determined III Lender's sale and absolute discretion) and
       taking samples of soil, groundwater or other water, air or building materials, and conducting
       other invasive testing. Borrower shall cooperate with and provide access to Lender and any such
       Person designated by Lender.

                       Section 10.4 RELEASE. At Lender's election, from time to time, Borrower shall
       accept a release from the lien of the Security Instrument of any pornon of the Property with
       respect to WhICh Lender beheves m good faith Hazardous Substances have been discovered on,
       at, in, under, or above and have or are or reasonably likely to have a material adverse effect on
       the Property, Borrower, Lender or the lien or priority of this Secunty Instrument, or WIth respect
       to which Lender believes in good faith an Environmental Law has been or may have been
       violated which has or is reasonably likely to have a material adverse effect on the Property,
       Borrower, Lender or the lien or prionty of this Secunty Instrument             Borrower shall, at
      Borrower's expense, cause any consents, agreements and instruments to be entered into that may
      be reasonably required by Lender III connection WIth such release, includmg, without limitation,
       subdivision consents) appropriate surveys, appraisals of the subdivisions, consents of tenants,
      access agreements, easement agreements, consents of parties to existing agreements and consents
      of subordinate lienors Borrower sha1I pay for any new title msurance policy or endorsement
      required by Lender in connection with any such release.

                      Section 10.5 ENVIRONMENTAL INDEMNIFICATION. (a) Borrower shan, at Its
       sole cost and expense, protect, defend, mdemmfy, release and .hold harmless Indemmfied
      Persons from and against any and all Losses and costs of Remediation (whether or not performed
      voluntarily), engineers' fees, environmental consultants' fees, and costs of mvestiganon
      (including, without hrmtation, sampling, testing, and analysis of soil, water, air, building
      materials and other materials and substances whether solid, hquid or gas) imposed upon or
      mcurred by or asserted against any Indemnified Persons and directly or mdrrectly ansmg out of
      or m any way relatmg to anyone or more of the following: (1) any presence of any Hazardous
      Substances in, on, above, or under the Property; (ri) any past, present or threatened Release of
      Hazardous Substances Ill, on, above, under or from the Property; (in) any activity by Borrower,
      any Affiliate of Borrower or any tenant or other user of the Property In connection WIth any
      actual, proposed or threatened use, treatment, storage, holding, existence, disposition or other
      Release, generation, production, manufactunng, processmg, refining, control, management,
      abatement, removal, handling, transfer or transportation to or from the Property of any
      Hazardous Substances at any time located in, under, on or above the Property, (iv) any activity
      by Borrower, any Affihate of Borrower or any tenant or other user of the Property In connection
      with any actual or proposed Remediation of any Hazardous Substances at any time located tn,
      under, on or above the Property, whether or not such Remediation IS voluntary or pursuant to
      court or admmistrativa order, mcludmg, without lirmtation, any removal, remedial or corrective
      action, (v) any past, present or threatened non-compliance or VIOlations of any Environmental
      Laws (or permrts Issued pursuant to any Environmental Law) In connectron WIth the Property or
      operations thereon, including, WIthout hrmtation, any failure by Borrower, any Affiliate of

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        Borrower or any tenant or other user of the Property to comply with any order of any
        governmental authority m connection with any Environmental Laws; (VI) the Imposition,
        recordmg or filing or the threatened imposinon, recording or fihng of any Environmental Lien
        encumbenng the Property; (vii) any administrative processes or proceedings or judicial
        proceedings in any way connected with any matter addressed in this Article; (vni) any past,
        present or threatened Injury to, destruction of or loss of natural resources m any way connected
        with the Property, including, without limitation, costs to mvestigate and assess such injury,
        destruction or loss, (ix) any acts of Borrower or other users of the Property In arrangmg for
       disposal or treatment, or arranging WIth a transporter for transport for disposal or treatment, of
       Hazardous Substances at any facility or incineration vessel contaimng such or snmlar Hazardous
       Substances; (x) any acts of Borrower or other users of the Property, in accepting any Hazardous
       Substances for transport to disposal or treatment facihties, incineration vessels or SItes from
       which there IS a Release, or a threatened Release of any Hazardous Substance WhICh causes the
       incurrence of costs for Remediation; (xi) any personal lllJUry, wrongful death, or property or
       other damage arismg under any statutory or common law or tort law theory, including, Without
       limitation, damages assessed for a private or public nuisance or for the conducting of an
       abnormally dangerous actrvity on or near the Property; and (xii) any matenal rmsrepresentanon
       or inaccuracy III any representation or warranty or material breach or failure to perform any
       covenants or other obligations pursuant to Article 10.

                        (b)   Notwithstanding the prOVISIOns of Section IO.5(a) or of any Loan
       Document to the contrary, Borrower shall have no obligation to indemnify the Indemnified
       Persons for Losses and costs of Remediation (i) in connection with Hazardous Substances WhICh
       are initially released or placed on, in or under the Property after the date, If any, upon wluch
       Lender (or Its designee) takes title to the Property following the occurrence of an Event of
       Default, or (ii) WhICh result directly and solely from Lender's WIllful misconduct or gross
       neghgence,

                                                  Article 11. - INDEMNITY

                      Section 11.1 INDEMNITY.          Borrower hereby indemnifies the Indemnified
      Persons agamst, and agrees to hold each such Indemnified Person harmless from, any and all
      losses, claims, damages and liabilmes, Including clarms brought by Borrower, any member,
      manager agent, representative or employee of Borrower, any Guarantor, or any other Person, and
      expenses relating to such claims, including reasonable counsel fees and expenses, incurred by
      such Indemmfied Person ansing out of any claim, litigation, mvestigation or proceeding
      (whether or not such Indemmfied Person is a party thereto) relating to any transactions, services
      or matters that are the subj ect of this Agreement or the other Loan Documents; prOVIded,
      however, that such mdemnity shall not apply to any such losses, claims, damages, or Irabiltties or
      related expenses determmed by a court of competent jurisdiction to have arisen from the gross
      negligence or WIllful misconduct of such Indernnrfied Person. The agreements of Borrower in
      this Section shall be in addition to any lrabihty that Borrower may otherwise have. All amounts
      due under this Section shall be payable as incurred upon written demand therefor




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                                                      Article 12. - WAIVERS

                               Section 12.1       MARSHALLINGANDOTHER MATTERS. Borrower hereby waives,
        to the fullest extent permitted by law, the benefit of all appraisement, valuation, stay, extension,
        rem statement and redemption laws now or hereafter in force and all nghts of marshalhng m the
        event of any sale hereunder of the Property or any part thereof or any interest therein. Further,
        Borrower hereby expressly waives any and all rights of redemption from sale under any order or
        decree of foreclosure on behalf of Borrower, and on behalf of each and every person acqumng
        any interest in or title to the Property subsequent to the date of this Agreement and on behalf of
        all persons to the extent permitted by applicable law.

                       Secnon 12.2 WAIVEROF NOTICE. Borrower shall not be enntied to any notices
       of any nature whatsoever from Lender except with respect to matters for which this Agreement
       specifically and expressly provides for the givmg of notice by Lender to Borrower and except
       with respect to matters for which Lender IS required by Applicable Law to give notice, and
       Borrower hereby expressly waives the right to receive any notice from Lender with respect to
       any matter for which this Agreement does not specifically and expressly provide for the giving
       of notice by Lender to Borrower.

                      Section 12.3 WAIVER OF STATUTE OF LIMITATIONS. To the fullest extent
       permitted by law, Borrower hereby expressly waives and releases the pleading of any statute of
       hmitanons as a defense to payment of the Debt or performance of Its other Obligations

                      Section 12.4 MODIFICATION, WAIVER IN WRITING.                 No modificauon,
      amendment, extension, discharge, termination or waiver of any prOVISIOnof this Agreement, or
      of the Note, or of any other Loan Document, nor consent to any departure by Borrower
      therefrom, shall m any event be effective unless the same shall be m a writmg signed by the
      party against whom enforcement IS sought, and then such Waiver or consent shall be effective
      only m the specific instance, and for the purpose, for WhICh grven. Except as otherwise
      expressly provided herem, no notice to, or demand on Borrower, shall enntle Borrower to any
      other or future notice or demand in the same, similar or other CIrcumstances.

                      Section 12.5 DELAYNOT A WAIVER. Neither any failure nor any delay on the
      part of Lender m insisting upon stnct performance of any term, condiuon, covenant or
      agreement, or exercismg any right, power, remedy or pnvtlege hereunder, or under the Note or
      under any other Loan Document, or any other mstrument given as secunty therefor, shall operate
      as or constitute a waiver thereof, nor shall a smgle or partial exercise thereof preclude any other
      future exercise, or the exercise of any other nght, power, remedy or privilege. In particular, and
      not by way of limitation, by acceptmg payment after the due date of any amount payable under
      this Agreement, the Note or any other Loan Document, Lender shall not be deemed to have
      waived any nght either to require prompt payment when due of all other amounts due under this
      Agreement, the Note or the other Loan Documents, or to declare a default for failure to effect
      prompt payment of any such other amount.

                 Section 126 WAIVER OF TRIAL BY JURY BORROWER AND LENDER
      EACH AGREES NOT TO ELECT A TRIAL BY JURY OF ANY ISSUE TRIABLE OF
      RIGHT BY JURY, AND WAIVES ANY RIGHT TO TRIAL BY JURY FULLY TO THE


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       EXTENT THAT ANY SUCH RIGHT SHALL NOW OR HEREAFTER EXIST WITH
       REGARD TO THE LOAN DOCUMENTS, OR ANY CLAIM, COUNTERCLAIM OR
       OTHER ACTION ARISING IN CONNECTION THEREWITH. THIS WAIVER OF
       RIGHT TO TRIAL BY JURY IS GIVEN KNOWINGLY AND VOLUNTARILY BY
       BORROWER AND LENDER, AND IS INTENDED TO ENCOMPASS INDIVIDUALLY
       EACH INSTANCE AND EACH ISSUE AS TO WHICH THE RIGHT TO A TRIAL BY
       JURY WOULD OTHERWISE ACCRUE. EACH OF LENDER AND BORROWER IS
       AUTHORIZED TO FILE A COpy OF THIS PARAGRAPH IN ANY PROCEEDING AS
       CONCLUSIVE EVIDENCE OF THIS WAIVER BY BORROWER AND LENDER.

                     Section 12.7 WAIVER OF COUNTERCLAIM. Borrower hereby waives the right
      to assert a counterclaim; other than a compulsory counterclaim, 10 any action or proceeding
      brought against it by Lender or its agents.

                                               Article 13. - GENERAL PROVISIONS

                      Section 13.1 NOTICES. Any notice, demand or other commumcation which any
      party hereto may desire or may be required to give to any other party under this Agreement or
      the other Loan Documents shall be m wntmg, and shall be deemed given (0 if and when
      personally delivered (effective upon dehvery), (II) upon receipt If sent by Federal Express or any
      other nationally recognized overnight couner (effective one (1) day after dehvery to such
      couner), (iii) upon receipt If deposited in United States registered or cernfied mall, postage
      prepaid (effective three (3) days after mailing), or (lY) upon receipt if sent by facsimile (effective
      upon confirrnation of transnnssion), ill each case addressed as follows, or at such other place as
      such party may have designated to all other parties by notice III writing in accordance WIth this
      Section:

                             (a)       If to Borrower:      Sam Parabia and Perin Parabia
                                                            7213 Romero Dnve
                                                            La Jolla, California 92037

                                       With a copy to

                                                            Attention'
                                                            Facsimile No.:             _

                             (b)       If to Lender         The National Republic Bank of Chicago
                                                            1201 West Harrison Street
                                                            Chicago, Illinois 60607
                                                            Attention: Edward Fitzgerald
                                                            Facsimile No.: 312/738-4929

                                       with a copy to'      Wolin, Kelter & Rosen, Ltd
                                                            55 West Monroe Street, SUIte 3600
                                                            Chicago, Illinois 60603
                                                            Attention: Juhe L Kammskr
                                                            Facsimile No.: 312/424-0660


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                               (c)       If to Trustee:       David Bark
                                                              1620 Union Street
                                                              San Diego, California 92101

        Except as otherwise specifically required herein, notice of the exercise of any right or option
        granted to Lender by this Agreement is not required to be gtven, Failure to deliver copies of
        notice shall not render the notice invahd.

                      Section 13.2 EXPENSES. Borrower shall be hable for payment of all reasonable
       costs Incurred by Lender III connection WIth making the Loan, the preparation, execution and
       delivery of this Agreement and the other Loan Documents, the enforcement of the Loan
       Documents and Lender's nghts and remedies thereunder, mcludmg, WIthout hmitanon,
       reasonable attorneys' fees and costs, and consultants' fees and costs, recording fees, title
       insurance premiums, environmental assessment fees and appraisal fees.

                       Section 13.3 ApPRAISAL. As long as the principal balance of the Debt shall
       exceed $500,000.00, Lender WI]] require that the appraisal be updated or that a new MAl
       appraisal be prepared for all or any portion of the Property every two (2) years dunng the term of
       the Loan and Borrower shall be liable for the cost and expense of any such appraisals and shall
       cooperate WIth Lender In obtaining such appraisals. Any new appraisal of the Property shall be
       prepared by an appraiser designated by Lender in its sale discretion

                      Section 13.4 ENTIRE AGREEMENT, AMENDMENTS AND WAIVERS. ThIS
       Agreement and the other Loan Documents contain the entire agreement and understanding of the
       parties hereto With respect to the subject matter hereof and the same may not be amended,
       modified or discharged, nor may any of their terms be waived, except by an mstrument In wntmg
       signed by the party to be bound thereby.

                       Section 13 5 FURTHERASSURANCES. Borrower will, at the cost of Borrower,
       and WIthout expense to Lender, do, execute, acknowledge and delrver all and every further acts,
      deeds, conveyances, deeds of trust, mortgages, assignments, secunty agreements, control
      agreements, notices of assignments, transfers and assurances as Lender shall, from time to time,
      reasonably require, for the better assuring, conveying, assignmg, transferring, and confinmng
      unto Lender the property and nghts hereby mortgaged, deeded, granted, bargained, sold,
      conveyed, confirmed, pledged, assigned, warranted and transferred or mtended now or hereafter
      so to be, or which Borrower may be or may hereafter become bound to conveyor assign to
      Lender, or for carrying out the mtentron or facihtatmg the performance of the terms of thrs
      Agreement or for filing, registering or recordmg the Security Instrument, or for complying WIth
      all Legal Requirements. Borrower, on demand, WIll execute and dehver, and m the event It shall
      fall to so execute and deliver, hereby aurhorrzes Lender to execute in the name of Borrower or
      without the signature of Borrower to the extent Lender may lawfully do so, one or more
      financmg statements and financmg statement amendments to evidence more effectively, perfect
      and maintain the priority of the secunty interest of Lender III the Property. Borrower grants to
      Lender an Irrevocable power of attorney coupled with an interest for the purpose of exercising
      and perfecting any and all nghts and remedies available to Lender at law and In equity, mcludmg
      WIthout lirmtation, such nghts and remedies available to Lender pursuant to this Section 13 5.



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                       Section 13.6 No THIRD PARTY BENEFITS This Agreement IS for the sole and
       exclusive benefit of the parties hereto and their respective permitted successors and assigns, and
       no third party IS intended to or shall have any rights hereunder.

                     Section 13.7 ASSIGNS. The terms and provisions hereof shall be bmdmg upon
       and inure to the benefit of the parties hereto and their respective permitted successors and
       assigns.

                     Section 13.8 COUNTERPARTS. This Agreement and any document or
       instrument executed pursuant thereto may be executed in any number of counterparts, each of
       which shall be deemed an onginal, but all of which together shall constitute one and the same
       instrument.

                    Section 13.9 GOVERNINGLAW. This Agreement shall be governed by and
      construed in accordance with the laws of the State of IllInOIS, in which the transactions
      contemplated herein were negotiated, the Note and other Loan Documents were executed and
      dehvered, and where the principal offices of Lender are located.

                             Section 13 10 TIME OF THE ESSENCE. TIme is ofthe essence of this Agreement

                      Section 13.11 SEVERABILITY. If any provision of this Agreement shall be
      judicially or administratively held invahd or unenforceable for any reason, such holding shall not
      be deemed to affect, alter, modify or impair m any way any other provision hereof.

                 Section 13.12 JURISDICTION AND VENUE. BORROWER AND ANY
      GUARANTOR HEREBY AGREE THAT ALL ACTIONS OR PROCEEDINGS
      INITIATED BY BORROWER OR ANY GUARANTOR AND ARISING DIRECTLY OR
      INDIRECTLY OUT OF THIS AGREEMENT SHALL BE LITIGATED IN THE
      CIRCUIT COURT OF COOK COUNTY, ILLINOIS, OR, THE UNITED STATES
      DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS OR, IF LENDER
      INITIATES SUCH ACTION, ANY COURT IN WHICH LENDER SHALL INITIATE
      SUCH ACTION AND WIDCR HAS JURISDICTION.          BORROWER AND ANY
      GUARANTOR HEREBY EXPRESSLY SUBMIT AND CONSENT IN ADVANCE TO
      SUCH JURISDICTION IN ANY ACTION OR PROCEEDING COMMENCED BY
      LENDER IN ANY OF SUCH COURTS, AND HEREBY WAIVE PERSONAL SERVICE
      OF THE SUMMONS AND COMPLAINT, OR OTHER PROCESS OR PAPERS ISSUED
      HEREIN, AND AGREE THAT SERVICE OF SUCR SUMMONS AND COMPLAINT OR
      OTHER PROCESS OR PAPERS MAY BE MADE BY REGISTERED OR CERTIFIED
      MAIL ADDRESSED TO BORROWER AND ANY GUARANTOR AT THE ADDRESS
      TO WHICH NOTICES ARE TO BE SENT PURSUANT TO THIS AGREEMENT.
      BORROWER AND ANY GUARANTOR WAIVE ANY CLAIM THAT THE CIRCUIT
      COURT FOR COOK COUNTY, ILLINOIS, OR THE UNITED STATES DISTRICT
      COURT FOR THE NORTHERN DISTRICT OF ILLINOIS IS AN INCONVENIENT
      FORUM OR AN IMPROPER FORUM BASED ON LACK OF VENUE. SHOULD
      BORROWER OR ANY GUARANTOR, AFTER BEING SO SERVED, FAIL TO
      APPEAR OR ANSWER TO ANY SUMMONS, COMPLAINT, PROCESS OR PAPERS
      SO SERVED WITHIN THE NUMBER OF DAYS PRESCRIBED BY LAW AFTER THE


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       MAILING THEREOF, BORROWER AND ANY GUARANTOR SHALL BE DEEMED
       IN DEFAULT AND AN ORDER AND/OR JUDGMENT MAY BE ENTERED BY
       LENDER AGAINST BORROWER AND/OR ANY GUARANTOR AS DEMANDED OR
       PRAYED FOR IN SUCH SUMMONS, COMPLAINT, PROCESS OR PAPERS. THE
       EXCLUSIVE CHOICE OF FORUM FOR BORROWER SET FORTH IN THIS
       PARAGRAPH SHALL NOT BE DEEMED TO PRECLUDE THE ENFORCEMENT, BY
       LENDER, OF ANY JUDGMENT OBTAINED IN ANY OTHER FORUM OR THE
       TAKING, BY LENDER, OF ANY ACTION TO ENFORCE THE SAME IN ANY OTHER
       APPROPRIATE JURISDICTION, BORROWER HEREBY WAIVE THE RIGHT, IF
       ANY, TO COLLATERALLY ATTACK ANY SUCH JUDGMENT OR ACTION.

                              Section 13 13 ACKNOWLEDGMENTS. Borrower hereby acknowledges that

                      (a)    it has been advised by counsel in the negotiation, execunon and delivery
       of this Agreement and the other Loan Documents;

                      (b)    neither Lender nor anyone associated with Lender has any fiduciary
       relationship with or fiduciary duty to Borrower arising out of or In connection with this
       Agreement or any of the other Loan Documents, and the relanonship between Lender, and
       Borrower, in connection herewith or therewith IS solely that of debtor and creditor; and

                  (c)    no joint venture or partnership ]S created hereby or by the other Loan
      Documents or otherwise exists by virtue of the transaction contemplated hereby among the
      parties

                   Section 13.14 CONFLICTS. In the event of any conflict between the tenus of this
      Agreement and the terms of any of the other Loan Documents, the terms of this Agreement shall
      control.

                     IN WITNESS WHEREOF, Borrower and Lender have caused this Agreement
      to be duly SIgned and delivered as of the day and year first above written.

                                                           BORROWER:



                                                    ,,/
                                                          ~~fiyf.£~
                                                           SAM PARA       A


                                                           cfJ~ 2r~~~
                                                           PERIN PARABIA



                                                           [Addrtional signature to follow]




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                                                   LENDER:


                                                                          OF



                                                   By:
                                                  Name: Edward Fitzge a
                                                  Its.  President




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